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                        Exhibit A
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NUMBER       BEGINNING                                                                                  CONFIDENTIAL

  PL001     USA_00014883    USA_00014888     Bill Text, As Introduced                                        N
  PL002     USA_00014889    USA_00014924     Fiscal Note and Bill Analysis, As Introduced                    N
  PL003     USA_00014925    USA_00014925     Notice, Senate Committee of the Whole, January 24, 2011         N

  PL004     USA_00014926    USA_00014937     Senate Journal, January 24, 2011                                N
  PL005     USA_00014938    USA_00014941     Minutes, Senate Committee of the Whole, January 24,             N
                                             2011
  PL006     USA_00014942    USA_00016032     Transcript, Senate Committee of the Whole, January 25,          N
                                             2011
  PL007     USA_00016033    USA_00016036     Minutes, Senate Committee of the Whole, January 25,             N
                                             2011
  PL008     USA_00016037    USA_00016037     Notice, Senate Committee of the Whole, January 25, 2011         N

  PL009     USA_00016038    USA_00016039     Witness List, Senate Committee of the Whole, January 25,        N
                                             2011
  PL010     USA_00016040    USA_00016065     Exhibit List, Senate Committee of the Whole, January 25,        N
                                             2011
  PL011     USA_00016066    USA_00016103     Senate Journal, January 25, 2011                                N
  PL012     USA_00016104    USA_00016109     Senate Committee Report, January 25, 2011                       N
  PL013     USA_00016110    USA_00016151     Senate Journal, Second Reading, January 26, 2011 (McCoy         N
                                             Ex. 13; Duncan Ex. 24)
  PL014     USA_00016152    USA_00016254     Transcript, Senate Floor Debate, Second Reading, January        N
                                             26, 2011
  PL015     USA_00016255    USA_00016310     Senate Journal, Third Reading, January 26, 2011                 N
  PL016     USA_00016311    USA_00016324     Bill Text, Engrossed                                            N
  PL017     USA_00016325    USA_00016327     Fiscal Note, Engrossed                                          N
  PL018     USA_00016328    USA_00016328     Notice, House Committee on Voter ID & Voter Fraud               N
                                             3/1/2011




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EXHIBIT     BATES STAMP    BATES STAMP END                        DESCRIPTION                            HIGHLY       DEFENDANTS' OBJECTIONS
NUMBER       BEGINNING                                                                                 CONFIDENTIAL

  PL019     USA_00016329    USA_00016331     Corrected Minutes, House Committee on Voter ID & Voter         N
                                             Fraud, 3/1/2011
  PL020     USA_00016332    USA_00016334     Witness List, House Committee on Voter ID & Voter Fraud        N
                                             3/1/2011
  PL021     USA_00016335    USA_00016813     Transcript, House Committee on Voter ID & Voter Fraud          N
                                             Hearing, 3/1/2011
  PL022     USA_00016814    USA_00016815     Minutes, House Committee on Voter ID & Voter Fraud             N
                                             3/7/2011
  PL023     USA_00016816    USA_00016816     Notice, House Committee on Voter ID & Voter Fraud              N
                                             3/7/2011
  PL024     USA_00016817    USA_00016817     Minutes, House Committee on Voter ID & Voter Fraud             N
                                             3/15/2011
  PL025     USA_00016819    USA_00016819     Notice, House Committee on Voter ID & Voter Fraud              N
                                             3/15/2011
  PL026     USA_00016820    USA_00016827     Bill Text, House Committee Report                              N
  PL027     USA_00016828    USA_00016830     Fiscal Note, House Committee Report, March 21, 2011            N

  PL028     USA_00016831    USA_00016835     Bill Analysis, House Committee Report                          N
  PL029     USA_00016836    USA_00016846     House Research Organization Bill Analysis                      N
  PL030     USA_00016847    USA_00016866     House Journal, Second Reading, Floor Debate, March 21,         N
                                             2011
  PL031     USA_00016867    USA_00016951     Transcript, House Floor Debate, SB 14, Second Reading          N
                                             3/21/2011
  PL032     USA_00016952    USA_00016953     Minutes, House Committee on Voter ID & Voter Fraud             N
                                             3/21/2011
  PL033     USA_00016954    USA_00016954     Notice, House Committee on Voter ID & Voter Fraud              N
                                             3/21/2011
  PL034     USA_00016955    USA_00017084     House Journal, Second Reading, March 23, 2011                  N




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NUMBER       BEGINNING                                                                                  CONFIDENTIAL

  PL035     USA_00017085    USA_00017639     Transcript, House Floor Debate, Second Reading, March           N
                                             23, 2011
  PL036     USA_00017640    USA_00017657     House Journal, Third Reading, March 24, 2011                    N
  PL037     USA_00017658    USA_00017665     Transcript, House Floor Debate, Third Reading, March 24,        N
                                             2011
  PL038     USA_00017666    USA_00017705     Senate Journal, Considering House Amendments, April, 5,         N
                                             2011
  PL039     USA_00017706    USA_00017747     House Journal, Motion to Appoint Conference Committee           N
                                             4/8/2011
  PL040     USA_00017748    USA_00017779     Conference Committee Report, May 4, 2011                        N
  PL041     USA_00017780    USA_00017803     Transcript, Conference Committee Report, May 9, 2011            N

  PL042     USA_00017804    USA_00017887     Senate Journal, Adoption of Conference Committee Report         N
                                             5/9/2011
  PL043     USA_00017888    USA_00017983     House Journal, Adoption of Conference Committee Report          N
                                             5/16/2011
  PL044     USA_00017984    USA_00018000     Bill Text, Enrolled and Signed (McCoy Ex. 11)                   N
  PL045     USA_00018001    USA_00018007     Bill Analysis, Enrolled                                         N
  PL046     USA_00018008    USA_00018011     Fiscal Note, Enrolled                                           N
  PL047     USA_00018012    USA_00018121     Transcript, Interim Hearing, June 14, 2010                      N
  PL048     USA_00018122    USA_00018130     Bill Text, As Introduced                                        N
  PL049     USA_00018131    USA_00018134     Bill Analysis, As Introduced                                    N
  PL050     USA_00018135    USA_00018136     Fiscal Note, As Introduced                                      N
  PL051     USA_00018137    USA_00018141     Minutes, Senate Committee of the Whole, March 10, 2009          N

  PL052     USA_00018142    USA_00018143     Notice, Senate Committee of the Whole, March 10, 2009           N

  PL053     USA_00018144    USA_00018161     Witness List, Senate Committee of the Whole, March 10,          N
                                             2009




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NUMBER       BEGINNING                                                                                   CONFIDENTIAL

  PL054     USA_00018162    USA_00019064     Transcript, Senate Committee of the Whole, March 10,             N
                                             2009
  PL055     USA_00019065    USA_00019094     Senate Journal, Resolving into the Committee of the              N
                                             Whole 3/10/2009
  PL056     USA_00019095    USA_00019304     Written Testimony provided to the Committee of the               N
                                             Whole 3/10/2009
  PL057     USA_00019305    USA_00019308     Bill Text, Senate Committee Report, March 12, 2009               N
  PL058     USA_00019309    USA_00019311     Bill Analysis, Senate Committee Report                           N
  PL059     USA_00019312    USA_00019316     Senate Exhibit List                                              N
  PL060     USA_00019317    USA_00020292     Senate Exhibits                                                  N
  PL061     USA_00020293    USA_00020364     Senate Journal, Second Reading, March 17, 2009                   N
  PL062     USA_00020365    USA_00020395     Senate Journal, Addendum, Second Reading, March 17,              N
                                             2009
  PL063     USA_00020396    USA_00020507     Transcript, Senate Floor Debate, Second Reading, March           N
                                             17, 2009
  PL064     USA_00020508    USA_00020531     Transcript, Senate Floor Debate, Third Reading, March 18,        N
                                             2009
  PL065     USA_00020532    USA_00020533     Fiscal Note, Engrossed, April 5, 2009                            N
  PL066     USA_00020534    USA_00020549     House Journal, First Reading and Referral to Committee           N
                                             3/31/2009
  PL067     USA_00020550    USA_00020550     Notice, House Committee on Elections, April 6, 2009              N
  PL068     USA_00020551    USA_00020552     Corrected Minutes, House Committee on Elections                  N
                                             4/6/2009
  PL069     USA_00020553    USA_00021358     Transcript, House Committee on Elections, April 6, 2009          N

  PL070     USA_00021359    USA_00021360     Notice, House Committee on Elections, April 7, 2009              N
  PL071     USA_00021361    USA_00021364     Corrected Minutes, House Committee on Elections, April 7,        N
                                             2009




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NUMBER       BEGINNING                                                                                   CONFIDENTIAL

  PL072     USA_00021365    USA_00022174     Transcript, House Committee on Elections, April 7, 2009          N

  PL073     USA_00022175    USA_00022175     Notice, House Committee on Elections, May 11, 2009               N
  PL074     USA_00022176    USA_00022177     Minutes, House Committee on Elections, May 11, 2009              N

  PL075     USA_00022178    USA_00022186     Bill Text, House Committee Report                                N
  PL076     USA_00022187    USA_00022201     Bill Analysis, House Research Organization 5/23/2009             N
  PL077     USA_00022202    USA_00022207     Bill Text, As Introduced                                         N
  PL078     USA_00022208    USA_00022209     Fiscal Note, As Introduced                                       N
  PL079     USA_00022210    USA_00022211     Notice, House Committee on Elections, February 28, 2007          N

  PL080     USA_00022212    USA_00022214     Corrected Minutes, House Committee on Elections                  N
                                             2/28/2007
  PL081     USA_00022215    USA_00022221     Witness List, House Committee on Elections, February 28,         N
                                             2007
  PL082     USA_00022222    USA_00022448     Transcript, House Committee on Elections, February 28,           N
                                             2007
  PL083     USA_00022449    USA_00022454     Bill Text, House Committee Report                                N
  PL084     USA_00022455    USA_00022456     Bill Analysis, House Committee Report                            N
  PL085     USA_00022457    USA_00022788     Transcript, Second Reading, House Floor Debate                   N
  PL086     USA_00022789    USA_00022852     House Journal Excerpt, April 23, 2007                            N
  PL087     USA_00022853    USA_00022884     Transcript, Third Reading, House Floor Debate                    N
  PL088     USA_00022885    USA_00023000     House Journal Excerpt April 24, 2007                             N
  PL089     USA_00023001    USA_00023008     Bill Analysis, House Research Organization                       N
  PL090     USA_00023009    USA_00023021     Bill Text, Engrossed                                             N
  PL091     USA_00023022    USA_00023023     Fiscal Note, Engrossed                                           N
  PL092     USA_00023024    USA_00023026     Bill Analysis, Engrossed                                         N
  PL093     USA_00023027    USA_00023028     Notice, Senate Committee on State Affairs, April 30, 2007        N




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EXHIBIT     BATES STAMP    BATES STAMP END                         DESCRIPTION                              HIGHLY       DEFENDANTS' OBJECTIONS
NUMBER       BEGINNING                                                                                    CONFIDENTIAL

  PL094     USA_00023029    USA_00023034     Minutes, Senate Committee on State Affairs, April 30,             N
                                             2007
  PL095     USA_00023035    USA_00023039     Witness List, Senate Committee on State Affairs, April 30,        N
                                             2007
  PL096     USA_00023040    USA_00023177     Transcript, Senate Committee on State Affairs, April 30,          N
                                             2007
  PL097     USA_00023178    USA_00023199     Transcript, Senate Floor Debate, May 15, 2007                     N
  PL098     USA_00023200    USA_00023277     Senate Journal Excerpt May 15, 2007                               N
  PL099     USA_00023278    USA_00023283     Bill Text, As Introduced                                          N
  PL100     USA_00023284    USA_00023285     Fiscal Note, As Introduced                                        N
  PL101     USA_00023286    USA_00023422     Transcript, House Elections Subcommittee, March 17,               N
                                             2005
  PL102     USA_00023423    USA_00023423     Notice, House Elections Subcommittee, March 17, 2005              N

  PL103     USA_00023424    USA_00023425     Minutes, House Elections Subcommittee, March 17, 2005             N

  PL104     USA_00023426    USA_00023427     Witness List, House Elections Subcommittee, March 17,             N
                                             2005
  PL105     USA_00023428    USA_00023434     Bill Text, House Committee Report                                 N
  PL106     USA_00023435    USA_00023436     Fiscal Note, House Committee Report                               N
  PL107     USA_00023437    USA_00023438     Bill Analysis, House Committee Report                             N
  PL108     USA_00023439    USA_00023446     Bill Analysis, House Research Organization                        N
  PL109     USA_00023447    USA_00023608     Transcript, House Floor Debate, May 2, 2005                       N
  PL110     USA_00023609    USA_00023664     House Journal, Second Reading, May 2, 2005                        N
  PL111     USA_00023665    USA_00023751     Transcript, House Floor Debate, May 2, 2005                       N
  PL112     USA_00023752    USA_00023817     House Journal, Third Reading, May 3, 2005                         N
  PL113     USA_00023818    USA_00023827     Bill Text, Engrossed                                              N
  PL114     USA_00023828    USA_00023828     Received from the Senate, January 27, 2011                        N
  PL115     USA_00023829    USA_00023829     Reported Engrossed, January 31, 2011                              N




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EXHIBIT     BATES STAMP    BATES STAMP END                         DESCRIPTION                              HIGHLY       DEFENDANTS' OBJECTIONS
NUMBER       BEGINNING                                                                                    CONFIDENTIAL

  PL116     USA_00023830    USA_00023831     Read first time/Referred to Voter Identification and Voter        N
                                             Fraud, Select, February 9, 2011
  PL117     USA_00023832    USA_00023832     Committee report filed with committee coordinator,                N
                                             March 16, 2011
  PL118     USA_00023833    USA_00023834     Favorable report from Voter Identification and Voter              N
                                             Fraud, Select, March 22, 2011
  PL119     USA_00023835    USA_00023835     House passage as amended reported, March 24, 2011                 N
  PL120     USA_00023836    USA_00023836     Senate refuses to concur reported/Senate requests                 N
                                             conference committee report reported, April 6, 2011
  PL121     USA_00023837    USA_00023837     House grants request for conference committee report              N
                                             reported/House Appoints conferees reported, April 11,
                                             2011
  PL122     USA_00023838    USA_00023840     Conference committee report filed, May 4, 2011                    N
  PL123     USA_00023841    USA_00023841     Senate adopts conference committee report reported,               N
                                             May 9, 2011
  PL124     USA_00023842    USA_00023842     House adopts conference committee report filed, May 17,           N
                                             2011
  PL125     USA_00023843    USA_00023843     Reported enrolled/ sent to the Governor, May 18, 2011             N

  PL126     USA_00023844    USA_00023844     Signed in the House, May 18, 2011                                 N
  PL127     USA_00023845    USA_00023846     Signed by the Governor, May 27, 2011                              N
  PL128     USA_00023847    USA_00023849     Read first time, Referred to Committee of the Whole,              N
                                             February 17, 2009
  PL129     USA_00023850    USA_00023850     Co-author authorized, February 23, 2009                           N
  PL130     USA_00023851    USA_00023854     Laid before the Senate/ Read 3rd time/ passed/ record             N
                                             vote/ Van De Putte remarks/ Remarks ordered printed

  PL131     USA_00023855    USA_00023855     Reported Engrossed, March 18, 2009                                N
  PL132     USA_00023856    USA_00023856     Received from Senate, March 19, 2011                              N




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EXHIBIT     BATES STAMP    BATES STAMP END                         DESCRIPTION                              HIGHLY       DEFENDANTS' OBJECTIONS
NUMBER       BEGINNING                                                                                    CONFIDENTIAL

  PL133     USA_00023857    USA_00023857     Committee report filed with committee coordinator, May            N
                                             15, 2009
  PL134     USA_00023858    USA_00023860     Read first time, Referred to Elections, January 30, 2007          N

  PL135     USA_00023861    USA_00023862     Committee report filed with committee coordinator, April          N
                                             3, 2007
  PL136     USA_00023863    USA_00023863     Recommitted to committee, April 16, 2007                          N
  PL137     USA_00023864    USA_00023865     Committee report filed with committee coordinator, April          N
                                             18, 2007
  PL138     USA_00023866    USA_00023867     Reported Engrossed, April 25, 2007                                N
  PL139     USA_00023868    USA_00023869     Received from House, April 25, 2007                               N
  PL140     USA_00023870    USA_00023871     Read first time, Referred to State Affairs, April 26, 2007        N

  PL141     USA_00023872    USA_00023873     Reported favorably as substituted, May 1, 2007                    N
  PL142     USA_00023874    USA_00023874     Co-sponsor authorized, May 3, 2007                                N
  PL143     USA_00023875    USA_00023876     Co-sponsor authorized, May 16, 2007                               N
  PL144     USA_00023877    USA_00023878     Read first time, Referred to Elections, March 2, 2005             N
  PL145     USA_00023879    USA_00023880     Committee report filed with committee coordinator, April          N
                                             7, 2005
  PL146     USA_00023881    USA_00023881     Recommitted to committee, April 19, 2005                          N
  PL147     USA_00023882    USA_00023882     Committee report filed with committee coordinator, April          N
                                             21, 2005
  PL148     USA_00023883    USA_00023884     Reported Engrossed, May 5, 2005                                   N
  PL149     USA_00023885    USA_00023886     Received from the House, May 4, 2005                              N
  PL150     USA_00023887    USA_00023887     Read first time, Referred to State Affairs, May 5, 2005           N
  PL151     USA_00023888    USA_00023892     Committee of the Whole Transcript Table of Contents,              N
                                             January 24, 2011
  PL152     USA_00023893    USA_00023905     Transcript, Committee of the Whole, January 24, 2011              N
  PL153     USA_00023906    USA_00023915     Transcript, Committee of the Whole, January 24, 2011              N




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EXHIBIT     BATES STAMP    BATES STAMP END                         DESCRIPTION                            HIGHLY       DEFENDANTS' OBJECTIONS
NUMBER       BEGINNING                                                                                  CONFIDENTIAL

  PL154                                      Senate Journal Proceedings, January 14, 2009                    N
  PL155                                      Senate Journal Proceedings, January 14, 2009 - Addendum         N

  PL156                                      Senate Rules - 66th Legislature, January 9, 1979                N
  PL157                                      Senate Rules - 67th Legislature, February 9, 1981               N
  PL158                                      Senate Rules - 68th Legislature, January 11, 1983               N
  PL159                                      Senate Rules - 69th Legislature, January 28, 1985               N
  PL160                                      Senate Rules - 70th Legislature, January 21, 1987               N
  PL161                                      Senate Rules - 71st Legislature, January 30, 1989               N
  PL162                                      Senate Rules - 72nd Legislature, February 11, 1991              N
  PL163                                      Senate Rules - 73rd Legislature, February 10, 1993              N
  PL164                                      Senate Rules - 74th Legislature, January 10, 1995               N
  PL165                                      Senate Rules - 75th Legislature, January 14, 1997               N
  PL166                                      Senate Rules - 76th Legislature, January 20, 1999               N
  PL167                                      Senate Rules - 77th Legislature, January 9, 2001                N
  PL168                                      Senate Rules - 78th Legislature, January 16, 2003               N
  PL169                                      Senate Rules - 79th Legislature, 2005                           N
  PL170                                      Senate Rules - 80th Legislature, 2007                           N
  PL171                                      Senate Rules - 81st Legislature, January 14, 2009               N
  PL172                                      Senate Resolution - 81st Legislature                            N
  PL173                                      Senate Rules - 82nd Legislature, January 19, 2011               N
  PL174                                      Senate Resolution - 83rd Legislature                            N
  PL175     USA_00013457    USA_00013466     Senate Journal Proceedings, January 14, 2009                    N
  PL176     USA_00013443    USA_00013454     Senate Journal Proceedings, January 19, 2011                    N
  PL177      TX_00091207     TX_00092254     Email from Dyer to Beuck with Election Spreadsheets             Y
                                             attached (Beuck Ex. 1)
  PL178     TX_00091736      TX_00091737     Email from Harless to Beuck re draft of Op-ed supporting        Y
                                             photo voter id (Beuck Ex. 2)




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  PL179     TX_00092224        TX_00092225     Email from McGeehan to Beuck re number of voters                     Y
                                               without TDL/SSN (Beuck Ex. 5)
  PL180     TX_00092226        TX_00092226     Email from McGeehan to Harless re HAVA dollars                       Y
                                               availability (Beuck Ex. 6)
  PL181      TEX0007207        TEX0007208      Email from Gomez to Beuck re 50% va disability & social              N
                                               security disability (Beuck Ex. 7)
  PL182     TX_00004912        TX_00004913     Email from Beuck to DPS Government Relations re Voter                Y
                                               ID (Beuck Ex. 9)
  PL183     TX_00006959        TX_00006974     OTB Resoultion with conference committee report (Beuck               Y
                                               Ex. 10, Harless Ex. 165; Shorter Ex. 11)
  PL184     TX_00091245        TX_00091245     Email from Russon to Beuck re Voter ID News (Beuck Ex.               N
                                               11)
  PL185                                        Texas Election Code Section 32.075, from onecle.com                  N
                                               (Beuck Ex. 13)
  PL186     TX_00024340        TX_00024341     Press Release: Gov. Perry: SB 14 Takes a Major Step in               N
                                               securing the integrity of the electoral process (Cesinger Ex.
                                               122)
  PL187      TEX0492758        TEX0492760      Email from Rodriguez to Cesinger re Media Question on                N
                                               EIC - Please Advices (Cesinger Ex. 123)
  PL188                                        Log of all DPS media activity re EICs (Cesinger Ex. 124)             N
  PL189                                        County locations issuing election identification certificate         N
                                               (Cesinger Ex. 125)
  PL190     TEX I.R.000116    TEX I.R.000116   Memo to the media re counties Processing Election                    N
                                               Identification Certificates (Cesinger Ex. 126)
  PL191                                        Screenshot of webpage re Driver License Services                     N
                                               (Cesinger Ex. 127)
  PL192                                        Screenshot of webpage re Election Identification                     N
                                               Certificate (EIC) (Cesinger Ex. 128)




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EXHIBIT     BATES STAMP   BATES STAMP END                         DESCRIPTION                              HIGHLY       DEFENDANTS' OBJECTIONS
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  PL193                                     Screenshot of webpage re Election Identification                  N
                                            Certificate (EIC) (Cesinger Ex. 129)
  PL194                                     Screenshot of webpage re Election Identification                  N
                                            Certificate (EIC) - Documentation Requirements (Cesinger
                                            Ex. 130)
  PL195                                     Contact Information for the Texas Department of Public            N
                                            Safety (Cesinger Ex. 131)
  PL196                                     Webpage with a list of Election Identification Certificate        N
                                            Mobile Stations Used in 2013 (Cesinger Ex. 132)

  PL197                                     All EIC Messages posted to Facebook between 9/13/2013             N
                                            and 5/16/2014 (Cesinger Ex. 133)
  PL198                                     All Texas DPS tweets re EIC between 6/25/2013 and                 N
                                            5/16/2014 (Cesinger Ex. 134)
  PL199                                     Press release titled "Election Identification Certificates        N
                                            Available June 26" (Cesinger Ex. 135)
  PL200                                     David Dewhurst Top Accomplishments Brochure                       N
                                            (Dewhurst Ex. 3)
  PL201                                     Texas Legislature Bills by Committee, Committee of the            N
                                            Whole Senate (Dewhurst Ex. 4)
  PL202                                     Legislative History of HB 218 (Dewhurst Ex. 6; Duncan Ex.         N
                                            2)
  PL203                                     Press Release: Statement by Lt. Governor David Dewhurst           N
                                            on House Committee Passage of Legislation Protecting
                                            Against Voter Fraud (Dewhurst Ex. 11)

  PL204                                     Off the Kuff Article: Duwhurst Makes the Case Against             N
                                            Voter ID (Dewhurst Ex. 13)




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  PL205     TX_00087007     TX_00087014     Email to J. McCoy from B. Hebert re ID Docs (Dewhurst Ex.          Y
                                            14, McCoy Ex. 8, Fraser Ex. 9, Hebert Ex. 155)

  PL206                                     Texas Voter Registration Application and Postage-Paid              N
                                            Envelope (Dewhurst Ex. 16)
  PL207     TX_00034576     TX_00034576     Draft Management of Major Legislation (Dewhurst Ex. 17)            Y

  PL208     TX_00034561     TX_00034561     Draft Procedures for Consideration of SB14, Voter I.D. Bill        Y
                                            (Dewhurst Ex. 19, McCoy Ex. 16)
  PL209     TX_00034565     TX_00034565     Draft Document re Consideration of S.B. 14 on the Floor            Y
                                            (Dewhurst Ex. 21)
  PL210                                     Article: Dewhurst on Hot Seat in Houston Debate                    N
                                            (Dewhurst Ex. 22)
  PL211                                     Press Release: Lt. Governor Dewhurst Statement                     N
                                            Regarding Justice Department Blocking Texas' Voter ID
                                            Law (Dewhurst Ex. 32)
  PL212                                     Article: Dewhurst Bavks Voter ID Bill, Moving Primary              N
                                            (Dewhurst Ex. 33)
  PL213                                     Article: Dewhurst is Disappointed Voter ID Measure Failed          N
                                            (Dewhurst Ex. 34)
  PL214     TX_00009045     TX_00009052     Lighthouse Opinion Polling, Fall 2010 Statewide Landscare          Y
                                            Benchmark Survey (Dewhurst Ex. 38)
  PL215                                     Excerpt of Chapter 181 re vital records, appearing in the          N
                                            Texas Register (Farinelli Ex. 107)
  PL216                                     Excerpt of Chapter 181 re vital records, appearing in the          N
                                            Texas Register in Adopted Rules (Farinelli Ex. 108)




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  PL217     TEX I.R.000279    TEX I.R.000279   Birth Certificate for Election Identification Certificate,           N
                                               showing a picture of one that is not acceptable (Farinelli
                                               Ex. 109)
  PL218                                        Picture illustrating where the EIC will be on a birth                N
                                               certificate that is printed by a registrar linked to the
                                               Remote Birth Access System (Farinelli Ex. 110)
  PL219                                        Tex. Admin. Code Title 25, 181.28 (Farinelli Ex. 111)                N
  PL220                                        Birth Certificate Issuance User Guide (Farinelli Ex. 112)            N

  PL221                                        States on application "APPLICATIONS WITHOUT PHOTO                    N
                                               IDENTIFICATION WILL NOT BE PROCESSED" (Farinelli Ex.
                                               113)
  PL222                                        List of sites where remote birth certificate issuance centers        N
                                               are available (Farinelli Ex. 114)
  PL223                                        List of sites with addresses for Remote Access Offices               N
                                               (Farinelli Ex. 115)
  PL224                                        Article by Texas DSHS re Birth Certificate for Election              N
                                               Identification (Farinelli Ex. 116)
  PL225                                        Email from Texas Health and Human Services Commission                N
                                               to Johnson re EIC Alert (Farinelli Ex. 117)
  PL226                                        Letter from Harris to Local Registrars and County Clerks re          N
                                               EIC (Farinelli Ex. 118)
  PL227      TEX0490997        TEX0491000      Email from Peters to Bodisch re About those Free Voter ID            N
                                               Cards (Farinelli Ex. 119)
  PL228                                        Statistics: Place of Birth by Nativity and Citizenship Status        N
                                               in Texas (ACS 08-12 tbl. B05002) (Farinelli Ex. 120)

  PL229                                        Deposition of Senator Troy Fraser, Transcript (Fraser Ex. 2)         N




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  PL230                                     Deposition of Senator Troy Fraser, Volume 2, Transcript            N
                                            (Fraser Ex. 3)
  PL231     TX_00009749     TX_00009752     Voter ID Is Good for Texas, by Senator Troy Fraser (Fraser         Y
                                            Ex. 6)
  PL232     US_00005599     US_00005615     Senate Journal 81st Legislature - Regular Session -                N
                                            Proceedings (Fraser Ex. 10)
  PL233     TX_00009651     TX_00009662     Email from McCoy to Alexander re Voter ID - SB 178                 Y
                                            (Fraser Ex. 11)
  PL234     TX_00034469     TX_00034471     Email from Hebert to Stinson re SB14 bill summary, with            Y
                                            attachment (Fraser Ex. 15, Dewhurst Ex. 29, Hebert Ex.
                                            176)
  PL235     TX_00009458     TX_00009470     SB 14/Voter Identification Talking Points (Fraser Ex. 18)          Y

  PL236                                     Dallas County Registrar of Voters Mail Application (Fraser         N
                                            Ex. 21)
  PL237                                     Press Release: Fraser Files Voter Fraud Measures (Fraser           N
                                            Ex. 23, Straus Ex. 4)
  PL238                                     SB 363 - Draft of a bill by Fraser (Fraser Ex. 24)                 N
  PL239     TX_00086376     TX_00086378     Article: Laws for Immigration - Tough Talk may be Empty            Y
                                            (Fraser Ex. 26)
  PL240     TX_00265592     TX_00265596     Email from Stinson to Jackson re voter ID info with                Y
                                            attachments (Fraser Ex. 28, McCoy Ex. 18)
  PL241     TX_00034516     TX_00034516     Email from McCoy to Hebrt re OAG language - SB 14                  Y
                                            (Fraser Ex. 30)
  PL242     TX_00075525     TX_00075530     SB 14 Amendments (Fraser Ex. 34)                                   Y
  PL243     TX_00086577     TX_00086577     Voter ID Differences (Fraser Ex. 35, McCoy Ex. 25)                 Y
  PL244     TX_00021227     TX_00021229     Email from Hebert to Stinson re University of Texas Polling        Y
                                            data on voter ID (Fraser Ex. 37)




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  PL245                                     Application for Original License, Tx Transp 521.142 (Fraser         N
                                            Ex. 38)
  PL246                                     Tex. Admin. Code Title 37, 15.183 (Application                      N
                                            Requirements) (Fraser Ex. 39)
  PL247     TX_00009045     TX_00009052     Fall 2010 Statewide Landscape Benchmark Survey, Special             N
                                            Presentation for Senate Republican Caucus (Fraser Ex. 41)

  PL248     TX_00008818     TX_00008833     Paper: The Effects of Photographic Identification on Voter          N
                                            Turnout in Indiana: A County Level Analysis, by Milyo
                                            (Fraser Ex. 42)
  PL249     TX_00008787     TX_00008809     Report: New Analysis shows Voter Identification Laws Do             N
                                            Not Reduce Turnout by Muhlhausen (Fraser Ex. 43)

  PL250     TX_00008810     TX_00008815     Article: The Empirical Effects of Voter-ID Laws: Present or         N         Hearsay; No Foundation; No
                                            Absent? (Fraser Ex. 44)                                                       Authentication; Improper Opinion

  PL251                                     [Poll] Texas Politics - Voter Identification (February 2011)        N
                                            (Fraser Ex. 45, Dewhurst Ex. 35, Williams Ex. 33)
  PL252                                     [Poll] Texas Politics - Voter ID Support (October 2012)             N
                                            (Fraser Ex. 46, Dewhurst Ex. 37, Williams Ex. 32)
  PL253     TX_00256243     TX_00256244     Letter from Putte to Duncan re Voter ID (Fraser Ex. 47)             Y

  PL254     LEG00000702     LEG00000757     Letter from Harless to Tannous re voter ID legislation              N
                                            (Harless Ex. 164)
  PL255     TX_00007021     TX_00007040     Talking Points and Voter ID Bill Summary (Harless Ex. 166)          Y

  PL256     TX_00007068     TX_00007075     Brief from Giesinger to Abbott re reasons for witholding            Y
                                            information requested by Gamboa from Harless (Harless
                                            Ex. 168)




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  PL257     TX_00006971      TX_00006971     Letter from Beuck to Harless re CCR SB 14 (Harless Ex. 169;         Y
                                             Shorter Ex. 12)
  PL258     TX_00006646                      NY Times article, Voting Reform is in the Cards (Harless Ex.        Y
                                             170)
  PL259                                      Rough draft of a bill (Harless Ex. 171, Beuck Ex. Ex. 3)            N
  PL260     TX_00007187      TX_00007187     Email from McGeehan to Harless re HAVA dollars                      Y
                                             availability (Harless Ex. 172, McGeehan Ex. 189; Shorter Ex.
                                             9)
  PL261     TX_00007185      TX_00007185     Email from McGeehan to Beuck re number of voters                    Y
                                             without drivers licenses (Harless Ex. 173, McGeehan Ex.
                                             190)
  PL262     TX_00028445      TX_00028448     Excerpt from voter fraud hearing (Harless Ex. 174)                  N
  PL263     LEG00000744      LEG00000744     Email from Harless to Thibodeau re voter ID (Harless Ex.            N
                                             176)
  PL264                                      Legislative History of SB 362, (Hebert Ex. 151, Dewhurst Ex.        N
                                             10, McGeehan Ex. 182; Duncan, Ex. 6)
  PL265     MALC-0000699    MALC-0000699     Article: Senate Begins Session at Odds Voter ID Proposal,           N         Hearsay; No Foundation; No
                                             measure to change 2/3 rule cause rancor for parties                           Authentication
                                             (Hebert Ex. 153)
  PL266     TX_00090532      TX_00090543     Email from McCoy to Spence re Voter ID - SB 14 with                 Y
                                             attachments (Hebert Ex. 156, McCoy Ex. 9)
  PL267     TX_00034442      TX_00034442     Email from Hebert to Barrios re Voter ID (Hebert Ex. 157,           Y
                                             Dewhurst Ex. 18)
  PL268      TX_0003456      TX_0003456      Talking points for DHD Call to Members Voter ID Timeline            Y
                                             and Procedures (Hebert Ex. 158, Dewhurst Ex. 20)

  PL269     TX_00034448      TX_00034448     Lt. Governor Dewhurst Statement RE Governor Perry's                 N
                                             Emergency Call (Hebert Ex. 159)




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  PL270     TEX00026004     TEX00026004     Letter from Dewhurst to Birdwell re SB 14 resolution               N
                                            (Hebert Ex. 160)
  PL271     TX_00262645     TX_00262649     Email from Stinson to Jackson re voter ID info with                Y
                                            attachments (Hebert Ex. 163, Dewhurst Ex. 23)
  PL272     TX_00262650     TX_00262652     Email from Stinson to Jackson re preclearance with                 Y
                                            attachments (Hebert Ex. 164, Dewhurst Ex. 24, Fraser Ex.
                                            31)
  PL273     TX_00265539     TX_00265543     Email from Stinson to Jackson re FYI ID Q&A with                   Y
                                            attachments (Hebert Ex. 166, McCoy Ex. 22)
  PL274     TX_00079495     TX_00079495     Email from Hebert to McCoy re affidavit amendment                  Y
                                            (Hebert Ex. 167)
  PL275     TX_00081510     TX_00081510     Email from Hebert to Baxter re Voter ID Talking Points &           Y
                                            Analysis (Hebert Ex. 168)
  PL276     TX_00080568     TX_00080573     Email from Baxter to Montange re Voter ID Talking Points           Y
                                            & Analysis (Hebert Ex. 169)
  PL277     TX_00081575     TX_00081575     Email from Hebert to McCoy re the plan for Tuesday                 Y
                                            (Hebert Ex. 170)
  PL278                                     Legislature history of SB 14 (Hebert Ex. 171, Dewhurst Ex.         N
                                            25, McGeehan Ex. 186; Duncan Ex. 17)
  PL279     TX_00034462     TX_00034462     Press Release: Lt. Governor Dewhurst Statement re                  N
                                            Passage of Voter ID (Hebert Ex. 175, Dewhurst Ex. 31)
  PL280     LEG00004939     LEG00004941     Email from Anderson to Hebert re Thank you and Request             Y
                                            (Hebert Ex. 177)
  PL281     TEX0462355      TEX0462358      Memo of understanding between the office of the Texas              N
                                            Secretary of State and the Texas Department of Public
                                            Safety Concerting Election Identification Certificate
                                            Issuance Outside of a Department of Public Safety Facitlity
                                            (Ingram Ex. 4; Shorter Ex. 13)




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  PL282      TEX0462209        TEX0462211      Interlocal Cooperation Contract, Mobile EIC Operations,           N
                                               Not executed (Ingram Ex. 5)
  PL283     TEX I.R.000127    TEX I.R.000135   List of DPS Mobile Stations issuing EICs issued by the            N
                                               Driver License Division of DPS (Ingram Ex. 6)
  PL284     TEX I.R.000136    TEX I.R.000142   List of DPS Mobile Stations issuing EICs issued by the            N
                                               Driver License Division of DPS, with weather related
                                               closures or delays (Ingram Ex. 7)
  PL285      TEX0200597        TEX0200597      Email from Jackson to Shorter re "No" Counties (Ingram Ex.        N
                                               8)
  PL286      TEX0462075        TEX0462075      Email from Rodriguez to Jackson re Mobile EIC Operations          N
                                               (Phase I) (Ingram Ex. 9)
  PL287      TEX0462496        TEX0462496      Email from EIC to Marygclerk re training (Ingram Ex. 10)          N

  PL288      TEX0461933        TEX0461933      Email from Rodriguez to Jackson re EIC Training (Ingram           N
                                               Ex. 11)
  PL289      TEX0462379        TEX0462379      Email from Heard to Jackson re EIC Metrics (Ingram Ex. 12)        N

  PL290      TEX0462363        TEX0462364      Email from Chacon to Jackson re EIC and Voter                     N
                                               Registration Mobile Drive (Week 2) (Ingram Ex. 13)
  PL291      TEX0461905        TEX0461908      Email from Smith to Jackson re Draft Mou: SOS/DPS                 N
                                               Mobile EIC Centers with attachment (Ingram Ex. 14)
  PL292      TEX0462132        TEX0462134      Email from Ingram to Jackson re Attachemnt Included,              N
                                               with attachemnt (Ingram Ex. 15; Shorter Ex. 14)

  PL293     TEX I.R.000001    TEX I.R.000004   List of DL offices open on Saturdays for EIC only (Ingram         N
                                               Ex. 17)
  PL294      TEX0524105        TEX0524106      Email from Shorter to MacGregor re EIC Locations for SOS          N
                                               Staff (Ingram Ex. 19)




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  PL295     TEX0463237      TEX0463251      Memo from Ingram to County Clerks re FAQs-                        N
                                            Impelemtantion of Senate Bill 14 (Ingram Ex. 20)
  PL296                                     Request for Disability Exemption (Ingram Ex. 21)                  N
  PL297     US_00001345     US_00001345     Letter from Nicholson to McGeehan re Rule 81.71                   N
                                            Substantially Similar Name Standards (Ingram Ex. 24)
  PL298     TEX0309188      TEX0309189      Email from Schonhoff to Huff re Question - "Substantially         N
                                            Similar Name" (Ingram Ex. 25)
  PL299     TEX0460199      TEX0460200      Email from Winn to Huff re Draft rule for Similar Name            N
                                            Standards (Ingram Ex. 26)
  PL300     TEX0311176      TEX0311178      Email from Geppert to Harrison re Voter ID Problem                N
                                            (Ingram Ex. 27)
  PL301                                     FALL 2013 Campaign $400,000 (all non-HAVA money)                  N
                                            (Ingram Ex. 28)
  PL302                                     2014 Voter Education Campaign Phase I (Ingram Ex. 29)             N

  PL303                                     2014 Voter Education Campaign Phase II (Ingram Ex. 30)            N

  PL304     TEX0306416      TEX0306416      Secretary of State, Paid Media Wrapup, September -                N
                                            October 2013 (Ingram Ex. 31)
  PL305                                     Screenshot of web page: Qualifying Voters: Module                 N
                                            Overview (Ingram Ex. 32)
  PL306     TEX0462079      TEX0462079      Email from Ingram to Pierce re Mobile EIC (Ingram Ex. 34)         N

  PL307     TEX0461925      TEX0461925      Location information for EIC Mobile Stations for Val Verde        N
                                            County (Ingram Ex. 35)
  PL308                                     Deposition of Janice McCoy (McCoy Ex. 2)                          N
  PL309     TX_00085773     TX_00085774     Submission of Background Information - Author's                   Y
                                            Statement of Purpose (McCoy Ex. 4)




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  PL310     TX_00058574     TX_00058575     Submission of Background Information - Author's                  Y
                                            Statement of Purpose (McCoy Ex. 6)
  PL311                                     Senate Resolution No. 14 - Adopted by 81st Legislature           N
                                            1/14/2009 (McCoy Ex. 7, Williams Ex. 23)
  PL312     TX_00086361     TX_00086361     Press Release: Fraser Applauds Governor Perry Declaring          N
                                            Voter ID Emergency Item (McCoy Ex. 10, Fraser Ex. 13)

  PL313     TX_00015831     TX_00015832     Email to A. Montagne from J. Baxter re Fwd: Preclearance         Y
                                            (McCoy Ex. 12)
  PL314     TX_00021301     TX_00021301     Email to R. LaRue from B. Hebert re Amendments (McCoy            Y
                                            Ex. 14)
  PL315     LEG00043172     LEG00043173     SB 14 by Fraser (Talking Points) (McCoy Ex. 15)                  Y
  PL316     TX_00204729     TX_00204729     Email to B. Brunson from K. Davis re Announcement                Y
                                            (McCoy Ex. 17)
  PL317     TX_00265528     TX_00265528     Email to J.Wroe from J. Stinson re FW: Affidavit                 Y
                                            Amendment (McCoy Ex. 19)
  PL318     TX_00079632     TX_00079632     Email to R. LaRue from J. McCoy re FW: '09 SB 362 Hearing        Y
                                            Transcript (McCoy Ex. 20)
  PL319     TX_00266555     TX_00266557     Email to J.Stinson from B. Hebert re SB14 Bill Summary           Y
                                            (McCoy Ex. 23)
  PL320     TX_00086199     TX_00086199     Office of the Governor Bill Signing Ceremony (McCoy Ex.          Y
                                            26)
  PL321                                     Letter from Gregory Davidson, Executive Clerk to Robert          N
                                            Haney, Chief Clerk 1/20/2011 (McCoy Ex. 27)
  PL322     TX_00204713     TX_00204713     Email from McGeehan to Fagan re number of ID voter               Y
                                            statewide (McGeehan Ex. 179)
  PL323     TX_00040055     TX_00040049     Email from Sepehri to Fagan re bill (McGeehan Ex. 180)           Y




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NUMBER       BEGINNING                                                                                        CONFIDENTIAL

  PL324     TX_00019424     TX_00019430     Email from McGeehan to Sepehri re memo on how the                      Y
                                            voter registration rolls are kept clean under current laws
                                            (McGeehan Ex. 184)
  PL325     TX_00204754     TX_00204754     Email from McGeehan to Fagan re data (McGeehan Ex.                     Y
                                            185; Shorter Ex. 6; Duncan, Ex. 14)
  PL326                                     Email from McGeehan to Fowler re SB 14 (McGeehan Ex.                   N
                                            192)
  PL327     TX_00010002     TX_00009977     Email from Patrick to Spence re Voter Highlights: Ok to                Y
                                            share? (Patrick Ex. 6)
  PL328     TX_00009976     TX_00009976     Email from Fleming to patrick re amendments to 519 and                 Y
                                            other issues (Patrick Ex. 7)
  PL329     TX_00009987     TX_00009990     Email from Patrick to Spence re meeting in Georgia, a                  Y
                                            victory for Citizen verification (Patrick Ex. 8, Fraser Ex. 25)

  PL330                                     Picture from danpatrick.org (Patrick Ex. 9)                            N
  PL331     TX_00261256     TX_00261257     Email from Patrick to Spence re Voter ID (Patrick Ex. 10)              Y

  PL332     TX_00261258     TX_00261259     Email from Patrick to Spence re Voter ID disabled persons              Y
                                            exemption explanation (Patrick Ex. 11)
  PL333     TX_0001070      TX_0001070      Senator Parick Announces Voter Integrity Initiative (Patrick           N
                                            Ex. 12)
  PL334     LEG00000033     LEG00000033     Senator Patrick: "House Antics Kills Voter Identification"             N
                                            (Patrick Ex. 12 - A)
  PL335     LEG00000042     LEG00000042     Mailing template to respond people who had emailed                     N
                                            Patrick re voter ID (Patrick Ex. 12 - B)
  PL336     TX_00010024     TX_00010024     Senator Dan Patrick News Letter (Patrick Ex. 12 - C)                   Y
  PL337     TX_00010032     TX_00010035     Your Voice from Senate District 7, email (Patrick Ex. 12 - D)          Y




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  PL338     TX_00010027     TX_00010027     Email from Patrick to Spence re Voter ID event (Patrick Ex.         Y
                                            12 - E)
  PL339                                     2011 Tex. Sess. Law Serv. Ch. 123 (S.B. 14) (Patrick Ex. 14)        N

  PL340                                     Transportation Code 521.142 (Patrick Ex. 15)                        N
  PL341                                     Tex. Admin. Code Title 37, 15.182 (Patrick Ex. 16)                  N
  PL342                                     Tex. Admin. Code Title 37, 15.181 (Patrick Ex. 17)                  N
  PL343                                     Election Identification Certificate (EIC) Information               N
                                            available at txdps.state.tx.us (Patrick Ex. 18)
  PL344                                     Tex. Admin. Code Title 37, 15.181 (Peters Ex. 38; Ingram            N
                                            Ex. 3)
  PL345      TEX050953       TEX050953      Article: No Warrant Worries: Texas' DPS Says it's Safe to           N
                                            Apply for Voter ID, by Bud Kennedy (Peters Ex. 39)
  PL346      TEX04840        TEX04840       Interlocal Cooperation Contract, Mobile EIC Operations -            N
                                            Fully Executed (Peters Ex. 40)
  PL347      TEX049079       TEX049079      Email from Rodriguez to Jackson re Commissioner's                   N
                                            Facebok page (Peters Ex. 41)
  PL348                                     Birth Certificate Affidavit and additional information              N
                                            (Peters Ex. 42)
  PL349     TX_00055960     TX_00055971     Email from Gomez to Guyette re jury wheel ftp address               N
                                            (Peters Ex. 44)
  PL350                                     Tex. Admin. Code Title 37, 15.46 (Peters Ex. 45)                    N
  PL351     TX_00220420     TX_00220423     Spreadsheet of voter ID cost estimates (Peters Ex. 46)              N

  PL352                                     Spreadsheet with various information by county (Peters              N
                                            Ex. 47)
  PL353                                     Map of all Driver license offices in Texas, with information        N
                                            re percentage of population within 25 mile radius of a
                                            location (Peters Ex. 48)




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NUMBER       BEGINNING                                                                                     CONFIDENTIAL

  PL354                                        Email from Bodisch to Peters re Voter ID Information             N
                                               (Peters Ex. 49)
  PL355      TEX0478165        TEX0478195      Email from Hale to Bell re Driver License Staff refresher        N
                                               course (Peters Ex. 51)
  PL356      TEX0511429        TEX0511438      Email from Myers to Lopez re employee class for issuing          N
                                               election certificates (Peters Ex. 52)
  PL357                                        Email from Davis re Mobile Election Identification               N
                                               Certificate Station Information with attachments (Peters
                                               Ex. 53)
  PL358     TEX I.R.000262    TEX I.R.000271   County Election Certificate training plan (Peters Ex. 54)        N

  PL359                                        Slides from County Clerk Mobile Lite training session            N
                                               (Peters Ex. 55)
  PL360     TEX I.R.000272    TEX I.R.000313   EIC County Set-Up and Issuance Training (Peters Ex. 56)          N

  PL361                                        Webpage with information on documentation                        N
                                               requirements for obtaining EICs (Peters Ex. 57)
  PL362     TEX I.R.000017    TEX I.R.000017   Flyer reading "Election Identification Certificates              N
                                               AVAILABLE HERE" (Peters Ex. 58)
  PL363      TEX0462059        TEX0462059      Email from Ingram to Pierce re Mobile FC (Peters Ex. 59)         N

  PL364     TEX I.R.000023    TEX I.R.000026   Log of DPS media activity re EICs from 8/30/2012 -               N
                                               2/14/2014 (Peters Ex. 60)
  PL365                                        Demographics Charts and Issuance tracking data (Peters           N
                                               Ex. 62)
  PL366                                        Draft of a bill by Denny et al. (Riddle Ex. 149)                 N
  PL367                                        Draft of a bill by Riddle (Riddle Ex. 150)                       N
  PL368     USA_00049080      USA_00049090     H.B. No. 16 (Riddle Ex. 154)                                     N




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  PL369     TX_00005327     TX_00005329     HB - 101 Voter ID Bill Talking Points with notes (Riddle Ex.         Y
                                            155)
  PL370     TX_00005511     TX_00005514     Texas Voter Registration Application form (Riddle Ex. 156)           Y

  PL371     TX_00005325     TX_00005582     Letter from Riddle to Dudley re House committee on                   Y
                                            elections public hearing re Voter ID bill, as well as agenda
                                            and presentation (Riddle Ex. 158)
  PL372                                     Paper by TCCRI: State Approaches to Illegal Immigration"             N         No Foundation; No Authentication;
                                            (Riddle Ex. 160)                                                               Hearsay
  PL373     TX_00214307     TX_00214308     Application for Texas Election Certificate (Rodriguez Ex. 64,        N
                                            Peters Ex. 61)
  PL374     TEX0500666      TEX0500666      Email to P. Watkins, T. Rodriguez, S. Bell from J. Peters re         N
                                            Election Identification Certificate (DL-14CS (Rodriguez Ex.
                                            65)
  PL375     TEX0488018      TEX0488025      Email to T. Rodriguez from L. Hale re Election Certificate           N
                                            Question Answers 06262013-PBI.docx (Rodriguez Ex. 66)

  PL376     TEX0479467      TEX0479467      Email to G. Albus from T. Rodriguez re Mobile Election               N
                                            Identification Certificate (EIC) Operations (Rodriguez Ex.
                                            67)
  PL377     TEX0500609      TEX0500609      Email to T. Rodriguez from A. Flores re EIC Applications             N
                                            from Out of State College Students (Rodriguez Ex. 68)

  PL378     TEX0500403      TEX0500403      Email to T. Carter et al. from T. Rodriguez re Election              N
                                            Certificates (Rodriguez Ex. 69)
  PL379     TEX0484755      TEX0484755      Email to S. Winkley from T. Rodriguez re Election                    N
                                            Certificates (Rodriguez Ex. 70)
  PL380     TEX0498740      TEX0498740      Email to T. Rodriguez from T. Carter re Daily EIC Reports            N
                                            (Rodriguez Ex. 71)




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  PL381      TEX0491969        TEX0491969      Email to T. Rodriguez from J. Crawford re EIC Report               N
                                               Change (Rodriguez Ex. 72)
  PL382      TEX0491142        TEX0491142      Email to T. Rodriguez from J. Crawford re EIC Status. Docx         N
                                               (Rodriguez Ex. 73)
  PL383      TEX0478735        TEX0478737      Email to R. O'Connor from T. Rodriguez re                          N
                                               Correction..FW:EIC Region 3 Weekly Report (21 Oct - 26
                                               Oct) (Rodriguez Ex. 74)
  PL384      TEX0478960        TEX0478961      Email to T. Rodriguez from B. Hubbard re EIC Report                N
                                               Region 6A (Rodriguez Ex. 75)
  PL385      TEX0478741        TEX0478741      Email to T. Rodriguez to S. Silva re EIC Saturday 9-14-2013        N
                                               Region 3 Standard Format Report (Rodriguez Ex. 76)

  PL386     TEX I.R.000411    TEX I.R.000415   List of EIC Issuances (Rodriguez Ex. 77, Ingram Ex. 16)            Y
  PL387                                        Election Identification Certificate Application Overview           N
                                               (Rodriguez Ex. 78)
  PL388      TEX0478624                        Email to J. Peters from T. Rodriguez re EIC Issuance               N
                                               Tracking .xlsx (Rodriguez Ex. 79)
  PL389                                        EIC Dashboard (Rodriguez Ex. 80)                                   N
  PL390      TEX0487344        TEX0487345      Birth Certificate Affidavit (Rodriguez Ex. 81)                     N
  PL391                                        Chart re Various Forms of ID (Rodriguez Ex. 82)                    N
  PL392                                        Illegible Chart (Rodriguez Ex. 83)                                 N
  PL393      TEX0511323        TEX0511323      Email to D. Barber from T. Rodriguez re EIC Reporting              N
                                               Information Requirements (Rodriguez Ex. 84)
  PL394      TEX0478989        TEX0478990      Email to T. Rodriguez from K. Krueger re DL Offices                N
                                               Poplation 25 and 50 miles TXSTATE Data.pptx (Rodriguez
                                               Ex. 85)
  PL395      TEX0511235        TEX0511237      Email to B. Myers from T. Rodriquez re FW: 79 Countries            N
                                               (Rodriguez Ex. 86)




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  PL396     TEX0496271      TEX0496273      Email to J. Rodriguez from T. Rodriguez re FW: EIC - Offices         Y
                                            that will open on Saturday (Rodriguez Ex. 87, Ingram Ex.
                                            18)
  PL397     TEX0511359      TEX0511361      Email to S. Winkley from T. Rodriguez re Saturday EIC Issue          N
                                            Offices (Rodriguez Ex. 88)
  PL398     TEX0304974      TEX0304974      Press Release - Secretary of State Steen Commends DPS                N
                                            for Opening Offices on Saturdays to Issue Election IDs
                                            (Rodriguez Ex. 89)
  PL399     TEX0462137      TEX0462139      Email to J. Wroe from K. Ingram re Fwd: DPS Request &                N
                                            Questions (Rodriguez Ex. 90)
  PL400                                     Depart of Public Safety Notice re Driver License Division            N
                                            (Rodriguez Ex. 91)
  PL401     TEX0511208      TEX0511209      Email to M. Flores from S. Silva re EIC Mobile Light Training        N
                                            - R0 Facilitators (Rodriguez Ex. 92)
  PL402     TEX0511590      TEX0511591      Email to B. Myers from D. Pitzer re Mobil Light EIC Units            N
                                            (Rodriguez Ex. 93)
  PL403     TEX0511199      TEX0511200      Email to L. Hale from R. Roberts re EIC Meeting Minutes -            N
                                            9/25 (Rodriguez Ex. 94)
  PL404     TEX0511902      TEX0511905      Email to A. Carlisle from S. Bell re FW: EICmobile (web              N
                                            master list).docx (Rodriguez Ex. 95)
  PL405     TEX0462497      TEX0462499      Email to J. Wroe from P.Watkins re Webb County                       Y
                                            Locations for EIC Ops (Rodriguez Ex. 96, Ingram Ex. 33)

  PL406     TEX0462079      TEX0462079      Email to A. Pierce from K. Ingram re FW: Mobile EIC                  N
                                            (Rodriguez Ex. 97)
  PL407     TEX0511238      TEX0511239      Email to T. Rodriguez from K. Bergman re FW: EIC MOU                 N
                                            (Rodriguez Ex. 98)




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  PL408     TEX0511298      TEX0511299      Email to L. Warren from                                              N
                                            Election_Identification_Certificates re Mobile Election
                                            Identification Certificate (EIC) Program (Rodriguez Ex. 99)

  PL409     TEX0462181      TEX0462184      Email to A. Pierce from C. Shorter re Fwd: Request for               N
                                            Assistance RE Motile Voter ID Initiative (Rodriguez Ex. 100,
                                            Peters Ex. 50)
  PL410                                     Chart of Applicants (Rodriguez Ex. 101)                              N
  PL411                                     Chart of EIC and Applicant Information (Rodriguez Ex. 102)           N

  PL412                                     Map titled "Election Identification Certificates County              N
                                            Participation" (Rodriguez Ex. 103)
  PL413                                     Chart titled "Driver License Division Customer Operations,           N
                                            Region 1A" (Rodriguez Ex. 104)
  PL414                                     Report titled "Driver License Customer Operations Region             N
                                            1A - Garland" (Rodriguez Ex. 105)
  PL415                                     Article from the San Antonio Express-News (Straus Ex. 1)             N

  PL416     LEG00004178     LEG00004178     Email response template for those who had emailed Straus             Y
                                            re Bill 14 (Straus Ex. 2)
  PL417     LEG00003707     LEG00003715     Letter from Straus to Peters et al re voter fraud (Straus Ex.        Y
                                            3)
  PL418     LEG00004095     LEG00004101     Meredyth (County Affairs, Urban Affairs, Elections, Land             Y
                                            and Resource Management, and Pensions, Investments
                                            and Financial Service) (Straus Ex. 5)
  PL419     LEG00004165     LEG00004166     Voter ID Bill Summary (Straus Ex. 6)                                 Y
  PL420     TX_00012065     TX_00012065     Handwritten note with heading "New (for dem support)"                Y
                                            (Straus Ex. 7)




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  PL421      LEG00000795       LEG00000795  Talking points against Student ID Amendment (Straus Ex.            N
                                            8, Williams Ex. 28)
  PL422                                     Transcript of Bench Trial Before Hon. David S. Tatel               N
                                            (Williams Ex. 3)
  PL423     USA_00013294      USA_00013369 Senate Journal Proceedings, January 14, 2009 - Addendum             N
                                            (Williams Ex. 6)
  PL424      LEG00001811       LEG00001814  Draft Resolution (Williams Ex. 7)                                  N
  PL425       TEX0003840        TEX0003856  Senate Journal Eighty-First Legislature - Regular Session -        N
                                            Proceedings (Williams Ex. 8)
  PL426      LEG00000794       LEG00000794  News Release: State Senator Williams Proposes "Smile &             N
                                            Vote" Legislation (Williams Ex. 9)
  PL427                                     Transportation Code 521.001 (Williams Ex. 11)                      N
  PL428     NAACP-00005248   NAACP-00005263 Letter to T. Christian Herren from G. Bledsoe re Comment           N
                                            Under Section 5, Submission No. 2011-2775 (Williams Ex.
                                            12)
  PL429      TX_00202892       TX_00202935  Audit Report on The Voter Registration System at the               N
                                            Texas Secretary of State's Office (Williams Ex. 13,
                                            Dewhurst Ex. 8)
  PL430                                     Senate Resolution 5 (Williams Ex. 19)                              N
  PL431      TX_00021225       TX_00021225  Email to A. Montagne from L. Nezda re Voter Registration           Y
                                            Information (Williams Ex. 24)
  PL432      TX_00107733       TX_00107735  Email to A. McGeehan from A. McGeehan re Query to                  N
                                            Identify Voters with no TDL/ID - Compare to DPS Records
                                            (Williams Ex. 26, Dewhurst Ex. 27, Fraser Ex. 33, Hebert
                                            Ex. 172, Harless Ex. 175, Peters Ex. 43, Ingram Ex. 23,
                                            McGeehan Ex. 188; Shorter Ex. 8)
  PL433      TX_00009588       TX_00009591  Texas Politics - Support for Voter ID Requirement (Williams        Y
                                            Ex. 29, Dewhurst Ex. 36, Fraser Ex. 40)




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  PL434                                        [Poll] Texas Politics - Views on Proposed Voter ID                 N
                                               Requirement (Williams Ex. 30)
  PL435     LEG00000799        LEG00000804     Tommy Williams Campaign Letter (Williams Ex. 31)                   N
  PL436                                        List of fees for obtaining a Concealed Handgun License in          N
                                               Texas (Zgabay Ex. 142)
  PL437                                        Welcome webpage for DPS Concealed Handgun Licencing                N
                                               information (Zgabay Ex. 143)
  PL438                                        Webpage with information on customer authentication                N
                                               (Zgabay Ex. 144)
  PL439                                        Original application for a Concealed Handgun License               N
                                               (Zgabay Ex. 145)
  PL440                                        Detailed instructions on how to fill out the CHL-88                N
                                               Revocation Affidavit (Zgabay Ex. 146)
  PL441                                        H.B. No. 698 (Zgabay Ex. 147)                                      N
  PL442                                        Copy of brochure with information re applying for DL or ID         N
                                               card (Gipson Ex. 136)
  PL443                                        Application for Texas Driver Licence or ID Card (Gipson Ex.        N
                                               137)
  PL444                                        Webpage with information re driver licesne fees (Gipson            N
                                               Ex. 138)
  PL445      TEX0508270                        Email from Hodge to Bodisch re EIC applicants (Gipson Ex.          N
                                               140)
  PL446                                        Email from Paula Faris to Dshscouncil, etc..RE: suggestions        N         No Foundation; No Authentication;
                                               and concerns regarding new proposed rule change                              Hearsay
                                               regarding free birth certificates for EIC, September 20,
                                               2013
  PL447     TEX I.R.000415    TEX I.R.000415   Invalid EIC applicants                                             N
  PL448      TEX0490997        TEX0491000      Email from J. Peters to R. Bodisch with subject line: About        N
                                               those free voter ID cards - few show up




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  PL449                                     Sample Birth Certificate                                            N
  PL450                                     DPS list of county locations issuing cerificates                    N
  PL451     TEX0462619      TEX0462620      Email from T. Rodriguez to multiple people with                     N
                                            preliminary report of EIC-related activity in DL Offices for
                                            Oct. 19th
  PL452                                     Letter from Stacy Kemp to Lisa Hernandez re fees for                N         No Foundation; No Authentication;
                                            copies of birth certificates, September 19, 2013                              Contains Hearsay

  PL453                                     EIC Mobile Stations - 2013 List                                     N
  PL454                                     DOJ Request for Judicial Notice - Docket No. 252                    N         Contains inadmissible matter; No
                                            (2:13-cv-291)                                                                 Foundation
  PL455                                     Webpage with contact information of Cortelyou                       N
  PL456                                     Webpage with contact information of Brookshire                      N         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication
  PL457                                     Webpage with contact information of Garcia                          N         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication
  PL458                                     Webpage with contact information of Jones                           N         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication
  PL459                                     Webpage with contact information of Hinojosa                        N         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication
  PL460                                     Webpage with contact information of Homfeld                         N         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication
  PL461                                     Webpage with contact information of Thomas                          N         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication
  PL462                                     May 2014 Issuance Statistics                                        N         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication




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  PL463                                     Excerpt from Perez pretrial conference and closing             N         Irrelevant; Immaterial; No
                                            arguments, July 29, 2014                                                 Foundation; Hearsay; Contains
                                                                                                                     Inadmissible Matter; No
                                                                                                                     Authentication; Conflicts with the
                                                                                                                     Court's Rule 8-19-14
  PL464                                     Senate Enrolled Act no. 483                                    N
  PL465                                     Senate Journal Proceedings, March 23, 2011                     N
  PL466     TEX0310551      TEX0310573      SOS Powerpoint                                                 N
  PL467                                     US DOS FS-240 - Instruction to replace or amend a              N
                                            consular report of a birth abroad
  PL468                                     USCIS N-565 Application instructions for replacement           N
                                            naturalization/citizenship document
  PL469                                     List of sites with addresses for Remote Access Offices         N

  PL470                                     Senate Bill 84, as passed                                      N
  PL471                                     H.B. No. 331                                                   N
  PL472                                     H.B. No. 1549                                                  N
  PL473     TEX0478735      TEX0478737      Email from Rodriguez to O'Connor re Correction, EIC            N
                                            Region 3 weekly report
  PL474                                     CDC Vital Statistic                                            N
  PL475     TEX0478739      TEX0478740      Email from Silva to Rodriguez re Correction, EIC report        N

  PL476                                     Webpage with document requirements for obtaining an            N
                                            EIC
  PL477                                     Austin County Declaration by Marcus Pena                       N         Contains Hearsay; No Foundation;
                                                                                                                     No Authentication; Improper
                                                                                                                     Evidence




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  PL478                                     Caldwell County Declaration by Pamela Ohlendorf          N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL479                                     Camp County Declaration by John Cortelyou                N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL480                                     Cochran County Declaration by Cheryl J. Butler           N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL481                                     Coke County Declaration by Mary Grim                     N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL482                                     Cottle County Declaration by Elissa Smith                N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL483                                     Crockett County Declaration by Michelle Medley           N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL484                                     Delta County Declaration by Herbert R. Brookshire        N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL485                                     Dimmit County Declaration by Mario Z. Garcia             N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL486                                     Duval County Declaration by Ana M. Bazan                 N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence




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  PL487                                     Edwards County Declaration by David Ortiz                 N         Contains Hearsay; No Foundation;
                                                                                                                No Authentication; Improper
                                                                                                                Evidence
  PL488                                     Fayette County Declaration by Dina Bell                   N         Contains Hearsay; No Foundation;
                                                                                                                No Authentication; Improper
                                                                                                                Evidence
  PL489                                     Franklin County Declaration by Ricky Jones                N         Contains Hearsay; No Foundation;
                                                                                                                No Authentication; Improper
                                                                                                                Evidence
  PL490                                     Frio County Declaration by Carlos Segura WITHDRAWN        N         Inadmissible pursuant to Court
                                                                                                                Order on 8-27-14
  PL491                                     Grimes County Declaration by Rebecca Duff                 N         Contains Hearsay; No Foundation;
                                                                                                                No Authentication; Improper
                                                                                                                Evidence
  PL492                                     Hall County Declaration by Teresa Altman                  N         Contains Hearsay; No Foundation;
                                                                                                                No Authentication; Improper
                                                                                                                Evidence
  PL493                                     Hansford County Declaration by Linda Cummings             N         Contains Hearsay; No Foundation;
                                                                                                                No Authentication; Improper
                                                                                                                Evidence
  PL494                                     Irion County Declaration by Joyce Gray                    N         Contains Hearsay; No Foundation;
                                                                                                                No Authentication; Improper
                                                                                                                Evidence
  PL495                                     Jackson County Declaration by Barbara Williams            N         Contains Hearsay; No Foundation;
                                                                                                                No Authentication; Improper
                                                                                                                Evidence
  PL496                                     Jim Hogg County Declaration by Norma L. Hinojosa          N         Contains Hearsay; No Foundation;
                                                                                                                No Authentication; Improper
                                                                                                                Evidence




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  PL497                                     Karnes County Declaration by Karen L. Opiela               N         Contains Hearsay; No Foundation;
                                                                                                                 No Authentication; Improper
                                                                                                                 Evidence
  PL498                                     Kent County Declaration by William D. Scogin               N         Contains Hearsay; No Foundation;
                                                                                                                 No Authentication; Improper
                                                                                                                 Evidence
  PL499                                     King County Declaration by Jammye D. Timmons               N         Contains Hearsay; No Foundation;
                                                                                                                 No Authentication; Improper
                                                                                                                 Evidence
  PL500                                     La Salle County Declaration by Margarita A. Esqueda        N         Contains Hearsay; No Foundation;
                                                                                                                 No Authentication; Improper
                                                                                                                 Evidence
  PL501                                     Lipscomb County Declaration by Kathy Fry                   N         Contains Hearsay; No Foundation;
                                                                                                                 No Authentication; Improper
                                                                                                                 Evidence
  PL502                                     Loving County Declaration by Tina Powers                   N         Contains Hearsay; No Foundation;
                                                                                                                 No Authentication; Improper
                                                                                                                 Evidence
  PL503                                     Lynn County Declaration by Donna Willis                    N         Contains Hearsay; No Foundation;
                                                                                                                 No Authentication; Improper
                                                                                                                 Evidence
  PL504                                     Madison County Declaration by Earl C. Parker, Jr.          N         Contains Hearsay; No Foundation;
                                                                                                                 No Authentication; Improper
                                                                                                                 Evidence
  PL505                                     Marion County Declaration by Karen G. Jones                N         Contains Hearsay; No Foundation;
                                                                                                                 No Authentication; Improper
                                                                                                                 Evidence




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  PL506                                     McMullen County Declaration by Mattie Sadovsky           N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL507                                     Menard County Declaration by Timothy R. Powell           N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL508                                     Newton County Declaration by Melissa Burks               N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL509                                     Oldham County Declaration by Courtney Bennett            N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL510                                     Robertson County Declaration by Trudy Hancock            N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL511                                     San Augustine County Declaration by Deborah Woods        N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL512                                     San Jacinto County Declaration by Sherryl Evans          N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL513                                     Schleicher County Declaration by Brenda Mayfield         N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence
  PL514                                     Shackelford County Declaration by Gayala Askew           N         Contains Hearsay; No Foundation;
                                                                                                               No Authentication; Improper
                                                                                                               Evidence




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  PL515                                     Sherman County Declaration by Valerie McAlister                   N         Contains Hearsay; No Foundation;
                                                                                                                        No Authentication; Improper
                                                                                                                        Evidence
  PL516                                     Somervell County Declaration by Cathy Thomas                      N         Contains Hearsay; No Foundation;
                                                                                                                        No Authentication; Improper
                                                                                                                        Evidence
  PL517                                     Throckmorton County Declaration by Dianna Moore                   N         Contains Hearsay; No Foundation;
                                                                                                                        No Authentication; Improper
                                                                                                                        Evidence
  PL518                                     Willacy County Declaration by Hugo Leyva                          N         Contains Hearsay; No Foundation;
                                                                                                                        No Authentication; Improper
                                                                                                                        Evidence
  PL519                                     Copy of Texas Identification Card and Texas Driver License        N
                                            (Bingham Gov. Ex. 1)
  PL520                                     Affidavit for Promise to Appear (Bingham Gov. Ex. 2)              N
  PL521                                     Arcola Municipal Court Payment on a Violation (Bingham            N
                                            Gov. Ex. 3)
  PL522                                     Notice of Denial of Renewal of Texas Driver License               N
                                            (Bingham Gov. Ex. 4)
  PL523                                     Texas Department of Public Safety Accounts Details                N
                                            (Bingham Gov. Ex. 5)
  PL524                                     Affidavit of Provisional Voter (Bingham Gov. Ex. 6)               N
  PL525                                     Affidavit of Provisional Voter (Eagleton Ex. 1)                   N
  PL526                                     Voter County Record (Eagleton Ex. 2)                              N
  PL527                                     Texas DPS ID Card (Holmes Ex. 1)                                  N
  PL528                                     Security Officer ID, expires 2012 (Holmes Ex. 2)                  N
  PL529                                     Security Officer ID, expires 2014 Holmes Ex. 3)                   N
  PL530                                     Affidavit of Provisional Voter (Holmes Ex. 4)                     N
  PL531                                     Voter Record, Confidential (Holmes Ex. 6)                         N




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NUMBER       BEGINNING                                                                                   CONFIDENTIAL

  PL532                                      Voter Record, 2013 (Sanchez Ex. 1)                               N
  PL533                                      Voter Record, 2014 (Sanchez Ex. 2)                               N
  PL534                                      Birth Certificate (Sanchez Ex. 3)                                N
  PL535                                      Copy of SSN, Medicare, College & Election Certificate            N
                                             (Sanchez Ex. 4)
  PL536                                      Affidavit of Provisional Voter (Washington Ex. 1)                N
  PL537                                      Voter Registration Certificate (Washington Ex. 2)                N
  PL538                                      Social Securiity Card (Washington Ex. 3)                         N
  PL539                                      Texas DPS Receipt (Washington Ex. 4)                             N
  PL540                                      Texas DPS - Temporary Identification Card (Washington Ex.        N
                                             5)
  PL541                                      Voter Registration Certificate (Washington Ex. 6)                N
  PL542                                      Voter Personal Information (Washington Ex. 7)                    N
  PL543                                      Texas DPS ID Card (Washington Ex. 10)                            N
  PL544                                      Voter Record, 2014 (Washington Ex. 11)                           N
  PL545     USA_00007849    USA_00007851     Subject: Information requested and sent to legislators           N
                                             today - Email 24 January 2011 from Arriaga to Davio

  PL546     USA_00007852    USA_00007852     Subject: Cards Issued without a Photo - Email 24 January         N
                                             2011 from Essell to Debra Gonzales
  PL547     USA_00007853    USA_00007853     Subject: FW: DWI's - Email 25 January 2011 from Essell to        N
                                             Debra Gonzales [this states the number of DWI arrests in
                                             2010]
  PL548     USA_00007859    USA_00007860     Subject: Re: VOTER ID follow up - Email 25 January 2011          N
                                             from McCraw to Arriaga; MacBride
  PL549     USA_00007861    USA_00007863     Letter 7 October 2011 from McCraw to Sen. Ellis                  N
                                             answering questions about DPS ability to comply with SB
                                             14




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  PL550     USA_00007864    USA_00007865     September 21, 2011 Ltr from Senator Ellis to McCraw                  N         No Foundation; Contains Hearsay
                                             [DPS]
  PL551     USA_00007876    USA_00007879     Subject: RE: Follow-up questions from Senator West -                 N         No Foundation; Contains Hearsay
                                             Email 3 February 2012 from Quinn to DPS Government
                                             Relations; Arriaga
  PL552     USA_00007880    USA_00007880     Subject: Re: SB14-Senate Conferees - Email 5 April 2011              N
                                             from Arriaga to DPS Government Relations
  PL553     USA_00007881    USA_00007883     Subject: RE: Update on Driver License Matters - Email 30             N
                                             September 2011 from Terry to DPS Government Relations;
                                             Davio; Arriaga
  PL554     USA_00007886    USA_00007893     Subject: Re: help with voter registration - Email 16 March           N         No Foundation; Contains Hearsay
                                             2009 from Hauser to Smith
  PL555     USA_00007896    USA_00007898     Subject: RE: Questions from Sen. Ellis - Email 15 September          N         No Foundation; Contains Hearsay
                                             2011 from Davio to Arriaga; DPS Government Relations;
                                             Terry; Smith
  PL556     USA_00007915    USA_00007916     Application for TX Election Certificate                              N
  PL557     USA_00007917    USA_00007919     Meeting Minutes - 6 October 2011 (on preliminary                     N
                                             requirements gathering session Election Certificate)
  PL558     USA_00007922    USA_00007924     Driver License Analysis of SB 14 by Janie Smith / Version:           N
                                             Conference Committee Report
  PL559     USA_00007925    USA_00007925     SB 14 Conference Committee Report - Driver License                   N
                                             Division 9 May 2011
  PL560     USA_00007926    USA_00007931     Cost To Implement SB 14                                              N         No Foundation; No Authentication

  PL561     USA_00007932    USA_00007939     Driver Licenses / SB 14 / Version: Enrolled as Finally Passed        N

  PL562     USA_00007940    USA_00007944     Driver Licenses / SB 14 / Version: House Committee                   N
                                             Substitute
  PL563     USA_00007953    USA_00007964     Driver Licenses / SB 14 / Version: Engrossed                         N




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  PL564     USA_00007989    USA_00007990     HB16, HB112, HB248, SB178 Voter ID bill notes 6                    N         No Foundation; No Authentication
                                             December 2010
  PL565     USA_00007991    USA_00007991     Voter ID Cost Estimates                                            N         No Foundation; No Authentication

  PL566     USA_00007992    USA_00007998     Eligibility Requirements for Issuance of Texas Election            N
                                             Certificate
  PL567     USA_00008006    USA_00008009     Subject: 71 House Republicans Stand Behind a Strong                N
                                             Voter ID Bill -Email 29 April 2009 from Republican Party of
                                             Texas to Bonnen
  PL568     USA_00008079    USA_00008083     Letter from McGeehan to Herren - 4 October 2011 -                  N
                                             response to DOJ's 23 September 2011 request for
                                             additional information
  PL569     USA_00008084    USA_00008098     Letter from TX DOS to Herren - 25 July 2011 - Submission           N
                                             letter
  PL570     USA_00008099    USA_00008100     Subject: Speech Info - Email 23 November 2011 from                 N         Contains Hearsay
                                             Beuck to Harless - notes on a speech on on BS 14
  PL571     USA_00008101    USA_00008103     Subject: Re: Speech Info - Email 28 November 2011 from             N         Contains Hearsay
                                             Harless to Beuck - more notes on a speech on SB 14

  PL572     USA_00008112    USA_00008116     Subject: Re: Updated Speech Info - Email 29 November               N         Contains Hearsay
                                             2011 from Harless to Beuck - thanking Bueck for the
                                             details sent in previous email
  PL573     USA_00008117    USA_00008118     VA disability & Social Security Disability - Email 25              N         Contains Hearsay
                                             February 2011 from Gomez to Beuck
  PL574     USA_00008131    USA_00008135     Email 12 September 2011 Blifford to Kaden - Draft Straus           N         Contains Hearsay
                                             Policy Accomplishments
  PL575     USA_00008230    USA_00008231     Sen. Patrick 4 April 2012 - News Update - 2/3 Rule change          N         Contains Hearsay




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  PL576     USA_00008232    USA_00008236     Sen. Patrick 15 July 2011 - News Update - Co-Author VID           N         Contains Hearsay
                                             "heavily involved"
  PL577     USA_00008240    USA_00008244     Election Integrity Talking Points - Tex. Conservative             N         Contains Hearsay; No Foundation;
                                             Coalition                                                                   No Authentication
  PL578     USA_00008245    USA_00008246     Letter: TX Transportation Comm'n. to Anchia 6 May 2011            N         Contains Hearsay
                                             Texas Mobility Fund
  PL579     USA_00008249    USA_00008249     Sen Williams Press Release 14 January 2009 Support VID            N

  PL580     USA_00008277    USA_00008279     Memo Smith to Andrade 6 March 2009 Meeting after                  N
                                             Elections Committee testimony
  PL581     USA_00008280    USA_00008281     Talking Points For Andrade - Proof of US Citizenship              N         Contains Hearsay; No Foundation;
                                                                                                                         No Authentication
  PL582     USA_00008329    USA_00008339     TCCRI - State Approaches to Illegal Immigration - VID and         N         Contains Hearsay; No Foundation;
                                             Citizenship Verification                                                    No Authentication
  PL583     USA_00008347    USA_00008347     23 March 2011 Letter to Charles C. Butt, Chairman & CEO           N
                                             of HEB from Governor Rick Perry as to the Voter ID Law

  PL584     USA_00008474    USA_00008475     Email 14 October 2011 from Batheja to Castle re a                 N         Contains Hearsay; No Foundation;
                                             response Castle made to a media question                                    No Authentication
  PL585     USA_00008476    USA_00008476     Email 17 October 2011 from Montgomery to Castle                   N         Contains Hearsay; No Foundation;
                                             requesting the governor's position on border patrol for a                   No Authentication
                                             news story
  PL586     USA_00008555    USA_00008560     King Street Patriots Recommendations for Legislation as to        N         Contains Hearsay; No Foundation;
                                             SB-14                                                                       No Authentication
  PL587     USA_00008611    USA_00008611     20 January 2010 Press Release as to Lt. Governor                  N         Contains Hearsay
                                             Dewhurt's Statement regarding Governor Perry's
                                             Emergency Call (Voter ID added to emergency items)
  PL588     USA_00008612    USA_00008613     21 January 2011 Letter from Senator Van de Putte to               N         Contains Hearsay; No Foundation;
                                             Senator Robert Duncan                                                       No Authentication




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NUMBER       BEGINNING                                                                                     CONFIDENTIAL

  PL589     USA_00008615    USA_00008615     26 January 2011 Press Release as to Lt. Governor                   N         Contains Hearsay
                                             Dewhurst's Statement regarding passage of Voter ID
  PL590     USA_00008620    USA_00008621     27 May 2011 Talking Points: Voter ID Bill Signing                  N         Contains Hearsay
  PL591     USA_00008622    USA_00008622     Key Talking Points as to Voter ID Bill                             N         Contains Hearsay
  PL592     USA_00008623    USA_00008623     Voter ID - Three Point Overview of talking points & likely         N         Contains Hearsay
                                             questions from opponents of the Voter ID Bill
  PL593     USA_00008624    USA_00008624     Standard of Review by the Department of Justice as to              N         Contains Hearsay
                                             Section 5 of the VRA
  PL594     USA_00008630    USA_00008630     Email 23 February 2009 from Sepehri to Fagan as to SoS             N
                                             Business and Public Filings Bills
  PL595     USA_00008632    USA_00008637     Chart indicating statewide voters without a Texas Driver's         N         No Foundation; Contains Hearsay
                                             License/ID
  PL596     USA_00008645    USA_00008648     DOJ Project Requirements: Statewide DPS/SOS Match;                 N         No Foundation; Contains Hearsay
                                             Voters with TDL/ID - Ethnicity Statistics
  PL597     USA_00008649    USA_00008649     Email 25 January 2011 from Mendoza to Richards as to a             N
                                             Statewide count of voters without a Texas Driver's
                                             License/ID
  PL598     USA_00008650    USA_00008655     Chart indicating statewide voters without a Texas Driver's         N         Contains Hearsay
                                             License/ID
  PL599     USA_00008657    USA_00008657     Email 1 September 2011 from Mendoza to McGeehan as                 N
                                             to instructions to query statewide voters without a Texas
                                             Driver's License/ID
  PL600     USA_00008659    USA_00008662     Email 21 January 2011 from Salazar to Guyette & Mendoza            N
                                             as to their position of Senate Bill 14 and an attached Bill
                                             analyst
  PL601     USA_00008665    USA_00008667     Email 14 December 2011 from Moon to Mendoza as to file             N
                                             positions in the jury wheel




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NUMBER       BEGINNING                                                                                       CONFIDENTIAL

  PL602     USA_00008668    USA_00008668     Email 29 November 2011 from Brandt to Mendoza                        N
                                             Removal filters for the Statewide Driver's License/ID file
                                             for the DOJ project
  PL603     USA_00008669    USA_00008680     Email 9 December 2011 from Gomez to Mendoza, Moon                    N
                                             and Guyette as to Statewide Driver's License/ID filters

  PL604     USA_00008681    USA_00008691     Email 29 November 2011 from Gomez to Mendoza and                     N
                                             Moon as to the Removal filters for the Statewide Driver's
                                             License/ID database
  PL605     USA_00008692    USA_00008700     Email 23 November 2011 from Gomez to Moon, Guyette                   N
                                             and Mendoza as to Removal filters and the running of
                                             Removal filters
  PL606     USA_00008701    USA_00008708     Email 16 November 2011 from Moon to Mendoza as to                    N
                                             Duplicates in the Database
  PL607     USA_00008728    USA_00008735     Immigration Legislation Plan                                         N         Contains Hearsay; No Foundation;
                                                                                                                            No Authentication
  PL608     USA_00008736    USA_00008737     9 February 2011 Press Release regarding Speaker Straus               N
                                             announcing House Committee assignments
  PL609     USA_00008738    USA_00008738     Email 10 October 2002 from Richards, Voter Registration              N
                                             Dpt., Office of Secretary of State, to Herman as to Hispanic
                                             Surname individuals
  PL610     USA_00008739    USA_00008739     Chart titled "Voter Registration Statistical Report: Recap of        N
                                             Hispanic Surname Periodic Reports Showing Additional
                                             Runs"
  PL611     USA_00008741    USA_00008742     Email 1 November 2011 from "Elections Internet" to                   N         Contains Hearsay
                                             Wieferman as to a Voter ID Requirements question
  PL612     USA_00008748    USA_00008748     Notice of Required Identification by Secretary of State,             N
                                             Section 63.0012, Texas Election Code




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NUMBER       BEGINNING                                                                                      CONFIDENTIAL

  PL613     USA_00008760    USA_00008763     Email 3 October 2008 from Best to "Elec Legal",                     N         Contains Hearsay
                                             McGeehan, Nickless and Richards as to illegal aliens voting

  PL614     USA_00008766    USA_00008766     Email 31 January 2011 from Winn to "Elec Legal" as to SB-           N
                                             14 and the Amendment No. 8 (Provisional Ballots &
                                             Affidavit)
  PL615     USA_00008807    USA_00008808     Informational Fact List and Frequently Asked Questions as           N         Contains Hearsay; No Foundation;
                                             to New Photo ID requirement                                                   No Authentication
  PL616     USA_00008811    USA_00008812     Email 20 October 2011 from Winn to Martinez and "Elec               N         Contains Hearsay; No Foundation;
                                             Legal" as to a question on proper identification                              No Authentication
  PL617     USA_00008813    USA_00008814     Email 22 November 2011 from Guyette to Brandt as to the             N
                                             number of TX voters without a Driver's License/ID with no
                                             DPS match
  PL618     USA_00008940    USA_00008942     Chart indicating Acceptable Identification Documents for            N
                                             Voters (DL-17)(12-11) (based on amended 15.24)

  PL619     USA_00008947    USA_00008947     Email 5 July 2011 from Martinez to Iselt requesting a Fiscal        N
                                             Impact report for implementing the Voter ID requirements

  PL620     USA_00008948    USA_00008949     Email 9 August 2011 from Gipson to Mastracchio,                     N
                                             JoeAnna, Gomez, Enrique, Davio, Rebecca, Terry, Michael
                                             Smith, Janie, Coleman, Ron, Spinks, Margaret and Watkins,
                                             Paul as to the Voter ID Card

  PL621     USA_00008960    USA_00008995     10 October 2011 document from the Texas Department of               N
                                             Public Safety as to the DLS titled "Business Requirements
                                             Document: Election Certificate and Veteran Initiatives"




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NUMBER       BEGINNING                                                                                       CONFIDENTIAL

  PL622     USA_00008998    USA_00008999     Email 26 October 2011 from Davio to Gomez and Watkins                N
                                             as to Communication Campaign Development and Sec
                                             State Election Handout
  PL623     USA_00009001    USA_00009002     Email 9 December 2011 from Gipson to Mastracchio as to               N
                                             Election Certificate Issuance
  PL624     USA_00009106    USA_00009107     Subject: File#2011-2775 - Email 15 September 2011 - From             N
                                             Adkins to Vot1973@usdoj.gov (Maranzano)
  PL625     USA_00009113    USA_00009114     Texas Election Certificate Information Texas Department              N
                                             of Public Safety
  PL626     USA_00009115    USA_00009116     Subject: Re: SB 14 and similar past bills - Email 26 February        N
                                             2011 - From Davio to Arriaga, McBride, Hudson, Ybarra
                                             and Terry
  PL627     USA_00009193    USA_00009195     Texas Driver License or Identification Card Two-Step                 N
                                             Application Process
  PL628     USA_00009196    USA_00009197     Subject: RE: Ft Worth visit - Email 17 January 2012 from             N         Contains Hearsay
                                             Gomez to Terry, Watkins, Davio, Mastracchio
  PL629     USA_00009201    USA_00009203     Subject: RE: Info for Sen. Williams - Email 25 January 2011          N
                                             from Gipson to Davio
  PL630     USA_00009232    USA_00009255     What will it Take to Fix Driver License? Submitted by the            N
                                             Texas Department of Public Safety 28 February 2011

  PL631     USA_00009269    USA_00009269     Cover letter for draft resolution setting procedures of Sen.         N         Contains Hearsay
                                             Committee of the Whole related to 82nd Legislative
                                             Session- Same as Sen. Resolution 408 for 81st Legislation
                                             Session - from Duncan to all Senators 21 January 2011

  PL632     USA_00009270    USA_00009274     Subject: FW: Voter ID & Highlights; OK to share? - Email 11          N         Contains Hearsay; No Foundation;
                                             May 2012 from Logan to same (chain email re Dan Patrick                        No Authentication
                                             and the Tea Party)




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NUMBER       BEGINNING                                                                                       CONFIDENTIAL

  PL633     USA_00009355    USA_00009356     Subject: RE: Voter ID - Email 22 March 2011 from Terry to            N
                                             DPS Gov. Relations, Davio
  PL634     USA_00009357    USA_00009361     Subject: Fiscal Implications of SB 14 - Email 28 March 2011          N
                                             from Trumble to Arriaga
  PL635     USA_00009366    USA_00009366     Subject: Legislative Privileged - Email 25 January 2011 from         N
                                             Arriaga to [not listed] (questions and answers for DPS)

  PL636     USA_00009374    USA_00009374     Email - 25 January 2011 from Arriaga to [not listed]                 N
                                             referring to DPS office closures
  PL637     USA_00009389    USA_00009389     Cover Letter for DPS responses to Senators' questions 26             N
                                             January 2011- from McCraw to Senators
  PL638     USA_00009390    USA_00009393     Response to Questions from Senate Committee of the                   N
                                             Whole
  PL639     USA_00009394    USA_00009394     Email - 25 February 2011 from McGeehan to Harless                    N
                                             regarding HAVA Dollars, Voter Fraud Complaints and
                                             Number of Registered Voters without ID from DPS
  PL640     USA_00009395    USA_00009395     Subject: FW: Number of voters that do not have an                    N
                                             associated TDL/SSN - Email - 25 February 2011 from
                                             McGeehan to [not listed]
  PL641     USA_00009406    USA_00009415     TX DPS responses to legislators comments/questions - 18              N
                                             November 2011
  PL642     USA_00009418    USA_00009418     Sample of State of Texas Election Certificate                        N
  PL643     USA_00009465    USA_00009465     Election Code Resolved Prosecutions by the Office of the             N
                                             Attorney General
  PL644     USA_00009471    USA_00009471     Subject: Re: Voter fraud info - Email 23 April 2007 from             N
                                             Lair to [not listed] - Forrest Mitchell states that they have
                                             not had a case of voter impersonation
  PL645     USA_00009477    USA_00009478     News Article 28 January 2011: Thousand face 137-mile trip            N         Contains Hearsay; No Foundation;
                                             for Voter ID in one Senate district                                            No Authentication




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NUMBER       BEGINNING                                                                                   CONFIDENTIAL

  PL646     USA_00009904    USA_00009904     Press Release from Dan Patrick's office - Senate's 2/3rds        N
                                             Rule Stops Voter ID Bill
  PL647     USA_00009912    USA_00009922     31 March 2008 News Article The Cure for Record Turnout           N         No Foundation; Contains Hearsay;
                                                                                                                        No Authentication
  PL648     USA_00009930    USA_00009930     11 May 2009 Statement from LT Gov House Committee                N
                                             Passage of egistlation Protecting Against Voter Fraud

  PL649     USA_00009935    USA_00009935     12 March 2012 Statement from Lt Gov regarding DOJ                N         Contains Hearsay; No Foundation
                                             blocking TX Voter ID law
  PL650     USA_00009956    USA_00009956     Identification Flow Chart (Abshier US Ex. 906)                   N         No Foundation; No Authentication;
                                                                                                                        Contains Hearsay

  PL651     USA_00010019    USA_00010028     Harless's Notice of ID Requirement Bill (Beuck US Ex. 4)         N

  PL652     USA_00010029    USA_00010029     Harless' political platform                                      N         Irrelevant; No Foundation; No
                                                                                                                        Authentication; Contains Hearsay

  PL653     USA_00010030    USA_00010038     27 May 2011 Texas Legislature election votes (Beuck US           N
                                             Ex. 8)
  PL654     USA_00010044    USA_00010047     29 April 2009 Email Revised GOP Applaud 71 house                 N         No Foundation; No Authentication;
                                             Republican Causus members Statemnt of Principles on                        Contains Hearsay
                                             Voter ID
  PL655     USA_00010054    USA_00010062     HB 624 Bonnen Bill to be enacted Election code Photo ID          N
                                             Bill
  PL656     USA_00010063    USA_00010063     23 March 2011 Texas Legislature Relating to requiring a          N
                                             voter to present proof of ID
  PL657     USA_00010069    USA_00010069     18 June 2007 Email Murphy to Bonnen re Congress not              N         No Foundation; No Authentication;
                                             passing Voter ID                                                           Contains Hearsay; Irrelevant




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  PL658     USA_00010070    USA_00010073     Internet Fact Check re Dewhurst                                      N         No Foundation; No Authentication;
                                                                                                                            Contains Hearsay; Irrelevant

  PL659     USA_00010074    USA_00010075     27 May 2011 Draft of Voter ID Bill Signing                           N         No Foundation; No Authentication;
                                                                                                                            Contains Hearsay

  PL660     USA_00010122    USA_00010122     20 January 2011 Letter: from Dewhurst to Birdwell                    N         No Foundation; No Authentication;
                                                                                                                            Contains Hearsay

  PL661     USA_00010127    USA_00010127     24 January 2011 Email from Hebert to Fagan                           N         No Foundation; No Authentication;
                                                                                                                            Contains Hearsay

  PL662     USA_00010148    USA_00010161     6/12/2012 list of DL Offices-Locations, Times, late day [if          N         No Foundation; No Authentication;
                                             any]                                                                           Contains Hearsay

  PL663     USA_00012171    USA_00012171     Texas state Rep. Arron Peña Plans Legislation to Curb Mail-          N         No Foundation; No Authentication;
                                             in Ballot Fraud; Article in Texas Watchdog 24 February                         Contains Hearsay
                                             2011; Peña Dep. Ex. 373
  PL664     USA_00012293    USA_00012302     H.B. No. 401: Voter ID draft by Smith of Tarrant                     N
  PL665     USA_00012303    USA_00012305     H.B. No. 1338: Voter ID Amendment by Smith on birth                  N
                                             certificates
  PL666     USA_00012306    USA_00012314     Texas Online Legislative History of SB 14                            N
  PL667     USA_00012383    USA_00012389     Bill Analysis of SB 14 by Senate Research Center 3 August            N
                                             2011
  PL668     USA_00012390    USA_00012394     Bill Analysis of C.S.S.B. 14 by Voter ID & Voter Fraud Select        N
                                             Committee
  PL669     USA_00012395    USA_00012400     Bill Analysis of SB 14 by Senate Research Center 21 January          N
                                             2011




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  PL670     USA_00012439    USA_00012474     Rules and Precedents of the Texas House: 81st Legislature -        N
                                             Rule 1
  PL671     USA_00012551    USA_00012551     No To School I.D.; Email 27 January 2011 from Brenda               N         Contains Hearsay; Irrelevant; No
                                             Paye to Sen. Troy Fraser                                                     Foundation; No Authentication

  PL672     USA_00012599    USA_00012599     Voter ID Bill Out of Committee; Texas Legislature Online           N
                                             Report 8 June 2012
  PL673     USA_00012622    USA_00013281     DOJ Objection Letters to Texas                                     N         Contains Hearsay; Irrelevant; No
                                                                                                                          Foundation; No Authentication

  PL674     USA_00013382    USA_00013387     Opinion on US v. Texas (1985) WITHDRAWN                            N         Irrelevant; No Foundation
  PL675     USA_00013388    USA_00013391     Email 27 January 2011 from Mendoza to Richards re VR               N
                                             Queries
  PL676     USA_00013392    USA_00013394     Email 01 February 2011 from McGeehan to Richards re                N
                                             SSN Records (Guyette US Ex. 972)
  PL677     USA_00013395    USA_00013395     Email 16 November 2011 from Moon to Mendoza re                     N
                                             Additional Records (Guyette US Ex. 973)
  PL678     USA_00013396    USA_00013407     Email 09 December 2011 from Gomez to Guyette re DPS                N
                                             Record Load (Guyette US Ex. 974)
  PL679     USA_00013408    USA_00013410     Email 25 January 2011 from Gipson to Davio re                      N
                                             Suspensions of License (Guyette US Ex. 975)
  PL680     USA_00013411    USA_00013417     Email 25 January 2011 from Mendoza to Richards re Totals           N
                                             on DPS Match (Guyette US Ex. 976)
  PL681     USA_00013418    USA_00013424     Email 25 January 2011 from Mendoza to Richards re                  N
                                             Revised Query: Younger than 70 (Guyette US Ex. 977)
  PL682     USA_00013635    USA_00013643     Jose Aliseda Election Website                                      N         No Foundation; No Authenticity;
                                                                                                                          Irrelevant; Contains Hearsay




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  PL683     TEX I.R.000232    TEX I.R.000261   2/18/2014 Election Code Referrals to the Office of the            N
                                               Attorney General August 2002 - Present (Mitchell Ex. 4)

  PL684      DE-001431          DE-001458      Continued Driver License Transformation Submitted by the          N
                                               Texas Department of Public Safety dated March 15, 2012

  PL685      DE-001653          DE-001654      5-12 DPS Wait Time Averages                                       N         No Foundation; No Authentication;
                                                                                                                           Contains Hearsay

  PL686      DE-000067          DE-000069      Texas Department of Public Safety - Letter                        N
  PL687                                        Republican Party of Texas: Report of Permanent                    N         No Foundation; No Authentication;
                                               Committee on Platorm and Resolutions                                        Contains Hearsay; Irrelevant

  PL688                                        Patricia Harless website: Important Issues Facing Texas           N         No Foundation; No Authentication;
                                                                                                                           Contains Hearsay; Irrelevant

  PL689                                        Attorney General Abbott Statement on DOJ Lawsuits                 N
                                               Challenging Texas Voter ID and Redistricting Laws -
                                               8/22/2013
  PL690      DE-000138          DE-000145      DPS Bill Analysis of SB 14                                        N
  PL691                                        Georgia SOS Presentation: Voting with Photo Identification        N

  PL692                                        TXDPS Website: New Driver License Mega Centers - A                N
                                               Faster
                                               Alternative
  PL693      TEX508082          TEX508083      Letter September 19, 2013 from Ellis to McCraw re voter           N         No Foundation; No Authentication;
                                               photo identification law                                                    Contains Hearsay




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  PL694                                     Data for 2011 Redistricting in Texas dated February 2011           N         Contains Hearsay; Irrelevant

  PL695     TX_00006974     TX_00006974     Email April 8 2011 from Beuck to Harless re Conference             Y         No Foundation; No Authentication;
                                            Issues                                                                       Contains Hearsay

  PL696                                     From VoteTexas.gov: Election Identification Certificate            N
                                            Mobile Stations Used in 2013, found in exhibits part 4 file
                                            name VoteTexas.gov » Election Identification Certificate
                                            Mobile Stations 2013.pdf
  PL697                                     From VoteTexas.gov: Election Identification Certificate            N
                                            Mobile Stations used in 2014
  PL698     TEX0505366      TEX0505367      Email October 14, 2013 from Peters to Cesinger re Press            N
                                            conference on Friday… DPS will not attend
  PL699     TEX0507628      TEX0507628      Email September 18, 2013 from Bodisch to McCraw re                 N
                                            Warrant Checks
  PL700     LEG00000477     LEG00000477     Incoming Correspondence Report: Bogan re photo ID to               N         Irrelevant; No Foundation; No
                                            vote.                                                                        Authentication; Contains Hearsay

  PL701     LEG00000499     LEG00000499     Incoming Correspondence Report: Levis re Photo IDto                N         Irrelevant; No Foundation; No
                                            vote.                                                                        Authentication; Contains Hearsay

  PL702     LEG00000592     LEG00000592     Outgoing Correspondence Report: Cole re Photo ID to                N         Irrelevant; No Foundation; No
                                            Vote                                                                         Authentication; Contains Hearsay

  PL703     LEG00000608     LEG00000608     Outgoing Correspondence Report: McMurray re Photo ID               N         Irrelevant; No Foundation; No
                                            to Vote                                                                      Authentication; Contains Hearsay




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  PL704     LEG00000711     LEG00000712     Email February 16, 2011 from Harless to Youngblood re              N         Irrelevant; No Foundation; No
                                            Update from Rep. Hareless: The Latest Voter Fraud                            Authentication; Contains Hearsay

  PL705     LEG00000738     LEG00000738     Email March 15, 2012 from Harless to Kaechler re Update            N         Irrelevant; No Foundation; No
                                            from Rep Harless                                                             Authentication; Contains Hearsay

  PL706     LEG00003727     LEG00003727     Incoming Correspondence Report: Marino                             Y         Irrelevant; No Foundation; No
                                                                                                                         Authentication; Contains Hearsay

  PL707     LEG00003768     LEG00003768     Outgoing Correspondence Report: Kennedy re Photo ID to             Y         Irrelevant; No Foundation; No
                                            Vote                                                                         Authentication; Contains Hearsay

  PL708     LEG00003978     LEG00003980     Fax to Speaker Fax #4 with copies of several news clippings        Y         Irrelevant; No Foundation; No
                                            and notes                                                                    Authentication; Contains Hearsay

  PL709     LEG00004061     LEG00004062     Two letters May 7, 2009 from Roseland to Straus and                Y         Irrelevant; No Foundation; No
                                            Smith re Voter ID bill                                                       Authentication; Contains Hearsay

  PL710     LEG00012418     LEG00012418     Contact Profile Report of Harold Davey                             Y         Irrelevant; No Foundation; No
                                                                                                                         Authentication; Contains Hearsay

  PL711     LEG00017457     LEG00017457     Contact Profile Report of Jimmie Gunnels                           Y         Irrelevant; No Foundation; No
                                                                                                                         Authentication; Contains Hearsay

  PL712     LEG00022156     LEG00022156     Contact Profile Report of Frank Kile                               Y         Irrelevant; No Foundation; No
                                                                                                                         Authentication; Contains Hearsay




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NUMBER       BEGINNING                                                                                    CONFIDENTIAL

  PL713     LEG00032353     LEG00032353     Contact Profile Report of D. Keith Romero                          Y         Irrelevant; No Foundation; No
                                                                                                                         Authentication; Contains Hearsay

  PL714     LEG00040603     LEG00040603     Outgoing Correspondence Report: Evans, Romero and                  Y         Irrelevant; No Foundation; No
                                            Adams                                                                        Authentication; Contains Hearsay

  PL715     LEG00040609     LEG00040609     Letter May 17, 2011 from Smith to Sullivan re illegal voter        Y         Irrelevant; No Foundation; No
                                            registration                                                                 Authentication; Contains Hearsay

  PL716     LEG00040612     LEG00040612     Letter May 11, 2011 from Smith to Green re voter fraud,            Y         Irrelevant; No Foundation; No
                                            illegal immigration and oil sales                                            Authentication; Contains Hearsay

  PL717     LEG00040615     LEG00040615     Letter May 21, 2011 from Smith to Green re voter fraud,            Y         Irrelevant; No Foundation; No
                                            illegal immigration and oil sales                                            Authentication; Contains Hearsay

  PL718     LEG00040617     LEG00040618     Letter May 10, 2011 from smith to Marshall re numerous             Y         Irrelevant; No Foundation; No
                                            questions                                                                    Authentication; Contains Hearsay

  PL719     LEG00040753     LEG00040754     Letter December 10, 2010 from Smith to Mr. and Mrs.                Y         Irrelevant; No Foundation; No
                                            Clark re illegal immigration and voter identification                        Authentication; Contains Hearsay

  PL720     LEG00040755     LEG00040756     Letter August 30, 2010 from Smith to Doughty re illegal            Y         Irrelevant; No Foundation; No
                                            immigration                                                                  Authentication; Contains Hearsay

  PL721     LEG00040757     LEG00040758     Letter September 10, 2010 from Smith to Henderson re               Y         Irrelevant; No Foundation; No
                                            illegal immigration and voter identification                                 Authentication; Contains Hearsay




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NUMBER       BEGINNING                                                                                   CONFIDENTIAL

  PL722     LEG00040770     LEG00040771     Letter February 15, 2010 from Smith to Williams re voter          Y         Irrelevant; No Foundation; No
                                            id                                                                          Authentication; Contains Hearsay

  PL723     LEG00041376     LEG00041376     Email July 8, 2010 from Bradley to bloodworth85 re                Y         Irrelevant; No Foundation; No
                                            Immigration                                                                 Authentication; Contains Hearsay

  PL724     LEG00041378     LEG00041378     Letter May 25, 2007 from Bradley to Briggs re Illegal             Y         Irrelevant; No Foundation; No
                                            Immigration                                                                 Authentication; Contains Hearsay

  PL725     LEG00041388     LEG00041388     Letter July 1, 2010 from Bradley to Evans re Illegal              Y         Irrelevant; No Foundation; No
                                            Immigration                                                                 Authentication; Contains Hearsay

  PL726     LEG00041390     LEG00041390     Letter April 22, 2009 from Bradley to Fletcher re Illegal         Y         Irrelevant; No Foundation; No
                                            Immigration                                                                 Authentication; Contains Hearsay

  PL727     LEG00041400     LEG00041400     Letter May 18, 2007 from Bradley to Hill re Immigration           Y         Irrelevant; No Foundation; No
                                                                                                                        Authentication; Contains Hearsay

  PL728     LEG00041401     LEG00041401     Letter May 18, 2007 from Bradley to Hill re Immigration           Y         Irrelevant; No Foundation; No
                                                                                                                        Authentication; Contains Hearsay

  PL729     LEG00041403     LEG00041403     Email May 27, 2009 from Bradley to Trellix Mailer re Doc's        Y         Irrelevant; No Foundation; No
                                            visitor's comments                                                          Authentication; Contains Hearsay

  PL730     LEG00041429     LEG00041429     Email May 11, 2009 from Bradley to dwwgolf1 re Voter ID           Y         Irrelevant; No Foundation; No
                                                                                                                        Authentication; Contains Hearsay




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  PL731     LEG00041430     LEG00041430     Email May 11, 2009 from dwgolf1 to District56 Anderson           Y         Irrelevant; No Foundation; No
                                            re Illegal Immigration, Voter ID                                           Authentication; Contains Hearsay

  PL732     LEG00041656     LEG00041656     Email January 14, 2011 from Frank to Hilderbran re E-            Y         Irrelevant; No Foundation; No
                                            News                                                                       Authentication; Contains Hearsay

  PL733     LEG00043530     LEG00043530     Email May 22, 2009 from rbilbo to District82 Craddick re         Y         Irrelevant; No Foundation; No
                                            Voter ID Bill                                                              Authentication; Contains Hearsay

  PL734     LEG00043614     LEG00043614     Fax May 1, 2007 from Hight to ? Re Misc Elections                Y         Irrelevant; No Foundation; No
                                                                                                                       Authentication; Contains Hearsay

  PL735     LEG00043620     LEG00043620     Email May 18, 2007 from Kyle to District82 Craddick re           Y         Irrelevant; No Foundation; No
                                            Voting                                                                     Authentication; Contains Hearsay

  PL736     LEG00043625     LEG00043625     Email May 22, 2007 from Wegner to District82 Craddick re         Y         Irrelevant; No Foundation; No
                                            Voter ID Law                                                               Authentication; Contains Hearsay

  PL737     LEG00043627     LEG00043627     Email May 23, 2007 from Ramirez to District82 Craddick re        Y         Irrelevant; No Foundation; No
                                            Voter's ID                                                                 Authentication; Contains Hearsay

  PL738     LEG00043629     LEG00043629     Email August 31, 2009from Hicks to District82 Craddick re        Y         Irrelevant; No Foundation; No
                                            proove citizenship to vote                                                 Authentication; Contains Hearsay

  PL739     LEG00043832     LEG00043832     Email January 26, 2011 from Lee to District82 Craddick re        Y         Irrelevant; No Foundation; No
                                            SB-14                                                                      Authentication; Contains Hearsay




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  PL740     LEG00043836     LEG00043836     Email from Ellington to District82 Craddick re Voter ID           Y         Irrelevant; No Foundation; No
                                            SB14                                                                        Authentication; Contains Hearsay

  PL741     LEG00043839     LEG00043839     Screenshot of Incoming Correspondence of Tom Currie               Y         Irrelevant; No Foundation; No
                                                                                                                        Authentication; Contains Hearsay

  PL742     LEG00043853     LEG00043853     Email from Cummins to District82 Craddick re Voting               Y         Irrelevant; No Foundation; No
                                                                                                                        Authentication; Contains Hearsay

  PL743     TEX0524906      TEX0524909      Allardyce's mail response in favor of Voter ID Legislation        Y         Irrelevant; No Foundation; No
                                                                                                                        Authentication; Contains Hearsay

  PL744     TEX0524910      TEX0525132      Texas State Opinion Ballots and Governor's Office Web             Y         Irrelevant; No Foundation; No
                                            Mail Correspondence                                                         Authentication; Contains Hearsay

  PL745     TEX0525038      TEX0525039      Incoming Email Correspondence Summary of Sep 22 from              Y         Irrelevant; No Foundation; No
                                            Hickson re Election Integrity                                               Authentication; Contains Hearsay

  PL746     TEX0525073      TEX0525073      Incoming email correspondence summary from counseller             Y         Irrelevant; No Foundation; No
                                            re illegal immigration                                                      Authentication; Contains Hearsay

  PL747     TEX0525079      TEX0525080      Incoming Email Correspondence Summary of June 9, 2006             Y         Irrelevant; No Foundation; No
                                            from Real re Voter ID                                                       Authentication; Contains Hearsay

  PL748     TEX0525089      TEX0525089      Incoming Email Correspondence Summary of June 22,                 N         Irrelevant; No Foundation; No
                                            2006 from Mickan re Voter ID                                                Authentication; Contains Hearsay




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  PL749     TX_00013898     TX_00013898     Email May 2, 2007 from McLeod to Williams re Voter ID            N         Irrelevant; No Foundation; No
                                            Bill                                                                       Authentication; Contains Hearsay

  PL750     TSC00000298     TSC00000298     NAACP Mission Statement (Banks Ex. 2)                            N
  PL751                                     Dr. Stephen D. Ansolabehere Corrected Sealed Final Expert        Y         Improper Bolstering Of a Witness;
                                            Report (July 1, 2014)                                                      Contains Hearsay; No Foundation

  PL752                                     Dr. Stephen D. Ansolabehere Suppl. & Reply Expert Report         Y         Improper Bolstering Of a Witness;
                                            (August 15, 2014)                                                          Contains Hearsay; No Foundation

 PL752R                                     Dr. Stephen D. Ansolabehere Corrected Supplemental               N
                                            Report (Sept. 16, 2014)
  PL753                                     Dr. Matt A. Barreto & Gabriel R. Sanchez Expert Report           N         Improper Bolstering Of a Witness;
                                            (June 27, 2014)                                                            Contains Hearsay; No Foundation

 PL753.1                                    Barreto Appendix B - Texas Voter Identification Study            N

  PL754                                     Dr. Matt A. Barreto & Gabriel R. Sanchez Rebuttal Expert         N         Improper Bolstering Of a Witness;
                                            Report (August 18, 2014)                                                   Contains Hearsay; No Foundation

  PL755                                     Dr. Coleman Bazelon Expert Report (June 27, 2014)                N         Improper Bolstering Of a Witness;
                                                                                                                       Contains Hearsay; No Foundation

  PL756                                     Dr. Coleman Bazelon Reply Expert Report (August 15,              Y         Improper Bolstering Of a Witness;
                                            2014)                                                                      Contains Hearsay; No Foundation

 PL756R                                     Dr. Coleman Bazelon Amended Reply Report (Sept. 17,              N
                                            2014)




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  PL757                                     Dr. Coleman Bazelon Reply Expert Report – Exhibit A               Y         Improper Bolstering Of a Witness;
                                            (Amended Report) (August 15, 2014)                                          Contains Hearsay; No Foundation

 PL757R                                     Dr. Coleman Bazelon Second Amended Expert Report                  N
                                            (Sept. 17, 2014)
  PL758                                     Dr. Barry C. Burden Corrected Expert Report (July 5, 2014)        N         Improper Bolstering Of a Witness;
                                                                                                                        Contains Hearsay; No Foundation

  PL759                                     Dr. Barry C. Burden Suppl. Expert Report (August 15, 2014)        N         Improper Bolstering Of a Witness;
                                                                                                                        Contains Hearsay; No Foundation

  PL760                                     Dr. Vernon Burton Expert Report (June 27, 2014)                   N
  PL761                                     Dr. Daniel G. Chatman Second Corrected Expert Report              N         Improper Bolstering Of a Witness;
                                            (July 18, 2014)                                                             Contains Hearsay; No Foundation

 PL761.1                                    Daniel Chatman updated CV                                         N
  PL762                                     Dr. Daniel G. Chatman Reply Report (August 8, 2014)               Y         Improper Bolstering Of a Witness;
                                                                                                                        Contains Hearsay; No Foundation

  PL763                                     T. Ransom Cornish Expert Report (June 26, 2014)                   N
  PL764                                     Dr. Chandler Davidson Curriculum Vitae                            Y
  PL765                                     Dr. Chandler Davidson Suppl. Expert Report (August 15,            N
                                            2014)
  PL766                                     Yair Ghitza Expert Report (June 27, 2014)                         N         Improper Bolstering Of a Witness;
                                                                                                                        Contains Hearsay; No Foundation

  PL767                                     Dr. Jane Henrici Expert Report (June 27, 2014)                    N         Improper Bolstering Of a Witness;
                                                                                                                        Contains Hearsay; No Foundation




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  PL768                                     Dr. Michael C. Herron Expert Report (June 27, 2014)             N         Improper Bolstering Of a Witness;
                                                                                                                      Contains Hearsay; No Foundation

  PL769                                     Dr. Michael C. Herron Amended Expert Report (August 14,         N         Improper Bolstering Of a Witness;
                                            2014)                                                                     Contains Hearsay; No Foundation

  PL770                                     Kevin G. Jewell Expert Report (June 27, 2014) (FILED            Y         Improper Bolstering Of a Witness;
                                            UNDER SEAL)                                                               Contains Hearsay; No Foundation

  PL771                                     George Korbel Expert Report (June 27, 2014)                     N         Improper Bolstering Of a Witness;
                                                                                                                      Contains Hearsay; No Foundation

  PL772                                     Dr. Allan J. Lichtman Expert Report (June 27, 2014)             N         Improper Bolstering Of a Witness;
                                                                                                                      Contains Hearsay; No Foundation

  PL773                                     Dr. Lorraine Carol Minnite Expert Report (June 26, 2014)        Y         Improper Bolstering Of a Witness;
                                                                                                                      Contains Hearsay; No Foundation

  PL774                                     Dr. Chandler Davidson Corrected Expert Report (July 9,          Y
                                            2014)
  PL775                                     Dr. Gerald R. Webster Suppl. Expert Report (August 15,          N         Improper Bolstering Of a Witness;
                                            2014)                                                                     Contains Hearsay; No Foundation

 PL775R                                     Dr. Gerald R. Webster Final Report (Sept. 16, 2014)             N
  PL776                                     Randall Buck Wood Expert Report (June 2014)                     N         Improper Bolstering Of a Witness;
                                                                                                                      Contains Hearsay; No Foundation




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  PL777                                     Nina Perales, et al., Voting Rights in Texas: 1982-2006 ,            N         No Foundation; No Authentication;
                                            Nat’l Comm’n on the Voting Rights Act (2006)                                   Contains Hearsay; Contains
                                                                                                                           Inadmissible Matter; Improper
                                                                                                                           Opinion
  PL778                                     William Frey, New Racial Segregation Measures for Large              N         No Foundation; No Authentication;
                                            Metropolitan Areas: Analysis of 1990-2010 Decennial                            Contains Hearsay; Contains
                                            Census , Univ. of Michigan Population Studies Ctr., Inst. for                  Inadmissible Matter; Improper
                                            Social Res., available at                                                      Opinion
                                            http://www.psc.isr.umich.edu/dis/census/segregation201
                                            0.html
  PL779                                     Keesha Gaskins and Sundeep Iyer, Challenge of Obtaining              N         No Foundation; No Authentication;
                                            Voter Identification , Brennan Ctr. for Justice (July 2012),                   Contains Hearsay; Contains
                                            available at                                                                   Inadmissible Matter; Improper
                                            http://www.brennancenter.org/sites/default/files/legacy/                       Opinion
                                            Democracy/VRE/Challenge_of_Obtaining_Voter_ID.pdf

  PL780                                     Tony Fabelo, et al., Breaking School’s Rules: A Statewide            N         No Foundation; No Authentication;
                                            Study of How School Discipline Relates to Students’                            Contains Hearsay; Contains
                                            Success and Juvenile Justice Involvement, Justice Ctr., The                    Inadmissible Matter; Improper
                                            Council of State Gov’t & Public Pol’y Res. Inst. (July 2011),                  Opinion
                                            available at http://csgjusticecenter.org/wp-
                                            content/uploads/2012/08/Breaking_Schools_Rules_Repor
                                            t_Final.pdf

  PL781                                     Nicholas A. Valentino, Vincent L. Hutchings, and Ismail K.           N         No Foundation; No Authentication;
                                            White, Cues that Matter: How Political Ads Prime Racial                        Contains Hearsay; Contains
                                            Attitudes During Elections , 96 Am. Poli. Sci. Rev. 75 (2002)                  Inadmissible Matter; Improper
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  PL782                                     Jon C. Rogowski, and Cathy J. Cohen, Black and Latino              N         No Foundation; No Authentication;
                                            Youth Disproportion-ately Affected by Voter Identification                   Contains Hearsay; Contains
                                            Laws in the 2012 Election, Black Youth Project (Feb. 2013),                  Inadmissible Matter; Improper
                                            available at                                                                 Opinion
                                            http://research.blackyouthproject.com/files/2013/03/vote
                                            r-ID-laws-feb28.pdf
  PL783                                     AAA Foundation for Traffic Safety, Timing of Driver’s              N         No Foundation; No Authentication;
                                            License Acquisition and Reasons for Delay among Young                        Contains Hearsay; Contains
                                            People in the United States 2012 (Aug. 2012), available at                   Inadmissible Matter; Improper
                                            http://newsroom.aaa.com/wp-                                                  Opinion
                                            content/uploads/2013/07/Teens-Delay-Licensing-FTS-
                                            Report.pdf
  PL784                                     Mark Hugo Lopez and Ana Gonzalez-Barrera, Latino Voters            N         No Foundation; No Authentication;
                                            Support Obama by 3-1 Ratio, But Are Less Certain than                        Contains Hearsay; Contains
                                            Others about Voting , Pew Research Center (Oct. 2012),                       Inadmissible Matter; Improper
                                            http://www.pewhispanic.org/files/2012/10/2012_NSL_lati                       Opinion
                                            no_vote_report_FINAL_10-18-12.pdf

  PL785                                     Gary Orfield, John Kucsera, and Genevieve Siegel-Hawley,           N         No Foundation; No Authentication;
                                            E Pluribus...Separation: Deepening Double Segregation for                    Contains Hearsay; Contains
                                            More Students, The Civil Rights Project (Oct. 2012),                         Inadmissible Matter; Irrelevant;
                                            available at http://civilrightsproject.ucla.edu/research/k-                  Improper Opinion
                                            12-education/integration-and-diversity/mlk-national/e-
                                            pluribus...separation-deepening-double-segregation-for-
                                            more-
                                            students/orfield_epluribus_revised_omplete_2012.pdf




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  PL786                                      The Republican Party of Texas 2014 Platform, Report of        N         No Foundation; No Authentication;
                                             Permanent Committee on Platform and Resolutions As                      Contains Hearsay; Irrelevant
                                             Amended and Adopted by the 2014 State Convention of
                                             the Republican Party of Texas,
                                             http://www.texasgop.org/wp-
                                             content/uploads/2014/06/2014-Platform-Final.pdf
  PL787                                      Gholar – Texas Voter Registration                             N
  PL788                                                                                                    N         No Foundation; No Authentication;
                                                                                                                     Contains Hearsay
                                             Gholar – Inactive Louisiana Voter Registration
  PL789                                      Provisional Ballots Responses                                 N         No Foundation; No Authentication;
                                                                                                                     Contains Hearsay

  PL790     Veasey000445    Veasey000445     "Birds of a Feather Flock Together" Mailer                    N         No Foundation; No Authentication;
                                                                                                                     Contains Hearsay

  PL791     Veasey000049    Veasey000050     Andrews County Clerk Fee's Website                            N         No Foundation; No Authentication;
                                                                                                                     Contains Hearsay

  PL792                                      Brochure on Driver Responsibility Surcharge Program,          N
                                             http://www.txdps.state.tx.us/internetforms/Forms/DL-
                                             103.pdf

  PL793     Veasey000099    Veasey000101     Cameron County Marriage Information Webpage                   N         No Foundation; No Authentication;
                                                                                                                     Contains Hearsay

  PL794     Veasey000102    Veasey000105     Carson County County Clerk Fees for Official Public           N         No Foundation; No Authentication;
                                             Records                                                                 Contains Hearsay




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  PL795     Veasey000739    Veasey000739     Chris Turner Mailer No. 1                                  N         No Foundation; No Authentication;
                                                                                                                  Contains Hearsay; Irrelevant

  PL796     Veasey000741    Veasey000741     Chris Turner Mailer No. 2                                  N         No Foundation; No Authentication;
                                                                                                                  Contains Hearsay; Irrelevant

  PL797     Veasey000742    Veasey000742     Chris Turner Mailer No. 3                                  N         No Foundation; No Authentication;
                                                                                                                  Contains Hearsay; Irrelevant

  PL798     Veasey000743    Veasey000743     Chris Turner Mailer No. 4                                  N         No Foundation; No Authentication;
                                                                                                                  Contains Hearsay; Irrelevant

  PL799     Veasey000745    Veasey000745     Chris Turner Mailer No. 5                                  N         No Foundation; No Authentication;
                                                                                                                  Contains Hearsay; Irrelevant

  PL800     Veasey000746    Veasey000746     Chris Turner Mailer No. 6                                  N         No Foundation; No Authentication;
                                                                                                                  Contains Hearsay; Irrelevant

  PL801     Veasey000111    Veasey000114     Cochran County Fee Schedule                                N         No Foundation; No Authentication;
                                                                                                                  Contains Hearsay

  PL802     Veasey000118    Veasey000120     Comal County Clerk's Fee Schedule                          N         No Foundation; No Authentication;
                                                                                                                  Contains Hearsay

  PL803     Veasey000133    Veasey000134     Denton County County Clerk Marriage Records Webpage        N         No Foundation; No Authentication;
                                                                                                                  Contains Hearsay

  PL804     TEX0507667       TEX0507668      DIC-25 Temporary Driving Permit                            N




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  PL805     Veasey000666    Veasey000667     Don't Be a Victim of Voter Fraud! Dallas County Mailer             N         No Foundation; No Authentication;
                                                                                                                          Contains Hearsay

  PL806      TEX00230055     TEX00230089     Driver License Division January 2006 Report                        N
  PL807     USA_00006637    USA_00006637     E-mail April 3, 2012 from Dawnna Dukes to Bruce Gear re            N         No Foundation; No Authentication;
                                             SB 14                                                                        Contains Hearsay

  PL808      TEX0507666      TEX05075666     E-mail January 25, 2011 Essell Gretchen to Debra                   N
                                             Gonazales re DWIs
  PL809      TEX0508411      TEX0508412      E-mail January 26, 2011 Gretchen Essell to Cory Pomeroy            N
                                             re DIC-25
  PL810     TEX00311740      TEX00311740     E-mail July 26, 2013 from Melanie Huff to Election Legal re        N
                                             Election Law Changes
  PL811     TX_00012029      TX_00012029     E-mail March 19, 2012 from Meredyth Fowler to Andrew               Y         No Foundation; No Authentication;
                                             Blifford re Drive Surcharge Program                                          Contains Hearsay

  PL812     TEX00312016      TEX00312016     E-mail Oct. 23, 2013 from Wroe Jackson to Keith Ingram re          N         Contains Inadmissible Matter
                                             DPS Commissioned Peace Officer IDs
  PL813     Veasey00001      Veasey00001     Floyd Carrier Birth Certificate (FILED UNDER SEAL)                 Y
  PL814     Veasey00002      Veasey00002     Floyd Carrier Veteran Universal Access Card (FILED UNDER           Y
                                             SEAL)
  PL815                                      Gordon Benjamin Birth Certificate (FILED UNDER SEAL)               Y

  PL816                                      Gordon Benjamin, Receipt for Birth Certificate (FILED              Y
                                             UNDER SEAL)
  PL817     TX_00005515      TX_00005515     Handwritten Note re Checking Citizenship Box                       Y         No Foundation; No Authentication;
                                             WITHDRAWN                                                                    Contains Hearsay




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  PL818     Veasey000243    Veasey000243     Hays County Clerk Fees, Records Division                    N         No Foundation; No Authentication;
                                                                                                                   Contains Hearsay

  PL819     Veasey000668    Veasey000738     Investigating Election Code Violations PowerPoint           N
  PL820                                      Julia Benevides, Birth Certificate Prior to May 2014        Y
  PL821                                      Julia Benevides, Birth Certificate, May 2014                Y
  PL822                                      Julia Benevides, Receipts for Trip to DPS                   N
  PL823     Veasey000259    Veasey000271     Kerr County Clerk Fee Schedule                              N         No Foundation; No Authentication;
                                                                                                                   Contains Hearsay

  PL824     TEX00461862      TEX0046184      Letter of Oct. 3, 2014 from Sen. Ellis to Sec. Steen        N         No Foundation; No Authentication;
                                                                                                                   Contains Hearsay

  PL825      TEX0508874      TEX0508876      Memo Jan. 24, 2011 Amanda Ariaga to Michael Terry,          N
                                             Rebecca Davio
  PL826     TX_00256082      TX_00256082     Proposed Amendment re 521.011 permits                       Y
  PL827                                      Ruby Barber Driver's License                                N
  PL828                                      Ruby Barber EIC                                             N
  PL829                                      Ruby Barber EIC Application
  PL830                                      Ruby Barber FamilySearch.org Page                           N
  PL831                                      Ruby Barber Senior Care Scott & White Card                  N
  PL832                                      Ruby Barber Social Security Card
  PL833                                      Ruby Barber Voter Registration Card                         N
  PL834     USA_00014555    USA_00014636     Secretary of State 31st Annual Election Law Seminar         N
                                             PowerPoint
  PL835     Veasey000342    Veasey000343     Tarrant County Webpage on Obtaining Documents:              N         No Foundation; No Authentication;
                                             Certified Copy of Marriage License                                    Contains Hearsay




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  PL836     Veasey000440    Veasey000440     Walker County Clerk Vital Records Fee Schedule                        N         No Foundation; No Authentication;
                                                                                                                             Contains Hearsay

  PL837     LYV00000018      LYV00000018     Imani Clark - Certificate of Birth (Clark Ex. 1) (FILED               Y
                                             UNDER SEAL)
  PL838     LYV00000014      LYV00000014     Imani Clark - California Driver's License (Clark Ex. 2) (FILED        Y
                                             UNDER SEAL)
  PL839     LYV00000013      LYV00000013     Imani Clark - California Identification Card (Clark Ex. 3)            Y
                                             (FILED UNDER SEAL)
  PL840     LYV00000016      LYV00000016     Imani Clark - Social Security Card (Clark Ex. 6) (FILED               Y
                                             UNDER SEAL)
  PL841                                      Engrossed Version of HB 218 (Fraser Ex. 4; Duncan Ex. 3)              N

  PL842                                      As-Introduced Version of SB 362 (Fraser Ex. 5, Dewhurst               N
                                             Ex. 9)
  PL843                                      Excerpted Transcript From the Committee of the Whole,                 N
                                             March 10, 2009 (Fraser Ex. 7)
  PL844                                      Excerpt From Senate Rules 2011 Session (Fraser Ex. 12)                N

  PL845                                      Introduced Version SB 14 (Fraser Ex. 14, Dewhurst Ex. 15,             N
                                             Hebert Ex. 161)
  PL846                                      Excerpt From Committee of the Whole Transcript, Jan. 25,              N
                                             2011 (Fraser Ex. 19)
  PL847                                      Senate Journal, Jan. 26, 2011 (Fraser Ex. 20, Hebert Ex.              N
                                             174)
  PL848                                      Senate Journal, Eightieth Legislature, May 15, 2007 (Fraser           N
                                             Ex. 22, Dewhurst Ex. 7)
  PL849                                      Transcript Excerpt, Committee of the Whole Senate, Jan.               N
                                             25, 2011 (Fraser Ex. 29)




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  PL850                                     Kenneth Gandy - Identification Card (Gandy Ex. 4) (FILED           Y
                                            UNDER SEAL)
  PL851                                     Texas Secretary of State Voter Information (Gholar Ex. 3)          N

  PL852                                     Secretary of State of Louisiana Web page printout (Gholar          N         No Foundation; No Authentication;
                                            Ex. 4)                                                                       Contains Hearsay

  PL853                                     Version of SB 362 (McCoy Ex. 5, Hebert Ex. 150, Patrick Ex.        N
                                            2; Duncan Ex. 11)
  PL854                                     Committee of the Whole Excerpt of Transcript, Jan. 25,             N
                                            2011 (McCoy Ex. 21)
  PL855     TX_00021335     TX_00021354     A Bill to Be Entitled an Act (McCoy Ex. 24)                        Y
  PL856                                     Senate Bill No. 14 (Riddle Ex. 153)                                N
  PL857     LYV00000101     LYV00000101     The League of Young Voters Education Fund Mission and              Y
                                            Purpose (Green Ex. 2)
  PL858     LYV00000074     LYV00000082     LDF - Comment Under Section 5 of the Voting Rights Act             Y
                                            (Green Ex. 6)
  PL859     TEX00206300     TEX00206305     House Bill No. 218 (Williams Ex. 1)                                N
  PL860                                     Senate Journal, May 15, 2007 (Williams Ex. 4)                      N
  PL861                                     1971 Excerpts from Rules of the Senate (Williams Ex. 14)           N

  PL862                                     1973 Excerpts from Rules of the Senate (Williams Ex. 15)           N

  PL863                                     1975 Excerpts from Rules of the Senate (Williams Ex. 16)           N

  PL864                                     1977 Excerpts from Rules of the Senate (Williams Ex. 17)           N

  PL865                                     1982 Excerpts from Rules of the Senate (Williams Ex. 18)           N




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  PL866                                     1985 Excerpts from Rules of the Senate (Williams Ex. 20)          N

  PL867                                     1987 Excerpts from Rules of the Senate (Williams Ex. 21)          N

  PL868                                     1989 Excerpts from Rules of the Senate (Williams Ex. 22)          N

  PL869                                     Mapquest for 8430 Cargill St. Houston, TX 77029 to 11039
                                                                                                              N
                                            East Fwy, Houston,TX 77029 (Eagleton Ex. 3)
  PL870                                     Texas Politics - Voter Identification, February 2011 (
                                                                                                              N
                                            Eagleton Ex. 4, Holmes Ex. 10, Washington Ex. 17)
  PL871                                     NDLS for Marvin Holmes - Transaction Eligibility (Holmes
                                                                                                              N
                                            Ex. 5)
  PL872                                     Mapquest for 4002 Corder St. Houston, TX 77021 to 9205
                                                                                                              N
                                            Winkler Dr. Houston, TX 77017 (Holmes Ex. 7)
  PL873                                     Mapquest for 4002 Corder St. Houston, TX 77021 to 4545
                                                                                                              N
                                            Dacoma St. Houston, TX 77092 (Holmes Ex. 8)
  PL874                                     Mapquest for 4002 Corder St. Houston, TX 77021 to 3422
                                                                                                              N
                                            Holman St. Houston, TX 77004 (Holmes Ex. 9)
  PL875     LEG00041299     LEG00041300     Letter May 25, 2011 from Harper-Brown to Richey re                          No Foundation; No Authentication;
                                            Opposition for a Voter ID Bill                                    Y         Contains Hearsay

  PL876     LEG00041420     LEG00041422     Letter August 16, 2010 from Bradley to Pattarozzi re                        No Foundation; No Authentication;
                                            Illegal Immigration                                               Y         Contains Hearsay

  PL877     LEG00043319     LEG00043322     Email April 28, 2014 from Rep. Tom Craddick to Jeanelle re                  No Foundation; No Authentication;
                                            Support for Voter Identificaion Law in Texas                      Y         Contains Hearsay




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  PL878      TEX0525045      TEX0525045      February 7, 2011 Office of the Governor - Web Mail                         No Foundation; No Authentication;
                                             Correspondence to Lieutenant Colonel Robert D. Jones             Y         Contains Hearsay

  PL879     TX_00010105      TX_00010105     82R - SB 14 Senate Website E-Mail for SD-7 (Colette Baker                  No Foundation; No Authentication;
                                             Herzog)                                                          N         Contains Hearsay

  PL880     TX_00010108      TX_00010108     82R - SB 14 Senate Website E-Mail for SD-7 (Patricia                       No Foundation; No Authentication;
                                             Schaefer)                                                        N         Contains Hearsay

  PL881     TEX00023246      TEX00023246     January 28, 2011 Offive of the Governor - Web Mail                         No Foundation; No Authentication;
                                             Correspondence to Susan Sunday                                   N         Contains Hearsay

  PL882     USA_00057292    USA_00057297     Application for a U.S. Passport                                  N
  PL883     USA_00223435    USA_00223439     Texas Secretary of State Election Advisory No. 2013-08
                                                                                                              N
                                             Voter Registration Certificate
  PL884     HarrisCounty     HarrisCounty    Voter Photo Identification Requirements for November
                                                                                                              N
              000095           000096        and Future Elections (Washington Ex. 12)
  PL885     HarrisCounty     HarrisCounty    Voter Photo Identification Requirements for Texas
                                                                                                              N
              000093           000094        Elections (Washington Ex. 13)
  PL886     HarrisCounty     HarrisCounty    Photo ID Frequently Asked Questions (FAQ) (Washington
                                                                                                              N
              000101           000106        Ex. 14)
  PL887     HarrisCounty     HarrisCounty    The Ways Eligible Texans May Vote (Washington Ex. 15)
                                                                                                              N
              000117           000118
  PL888                                      MapQuest for 3938 Charleston St, Houston, TX 77021 to
                                             9206 Winkler Dr. Houston, TX 77017 (Washington Ex. 16)           N

  PL889     USA_00223397    USA_00223399     Common Access Card                                               N
  PL890     USA_00223400    USA_00223402     N-400, Application for Naturalization                            N




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  PL891     USA_00223403    USA_00223404     N-565, Application for Replacement
                                                                                                                N
                                             Naturalization/Citizenship Document
  PL892     USA_00223405    USA_00223407     N-600, Application for Certificate of Citizenship, FAQ             N
  PL893     USA_00223408    USA_00223414     Passport Fees                                                      N
  PL894     USA_00223415    USA_00223417     Uniformed Services ID Card                                         N
  PL895     USA_00223418    USA_00223420     U.S. Department of Veteran Affairs - Veterans Health
                                                                                                                N
                                             Identification Card
  PL896                                      Reverend Buchanan File (Buchanan Ex. 1)                            N
  PL897                                      Excerpts from Transcript of Committee, January 25, 2011
                                                                                                                N
                                             (Dewhurst Ex. 26)
  PL898                                      Senate Journal, March 18, 2009 (Hebert Ex. 154; Duncan
                                                                                                                N
                                             Ex. 13)
  PL899                                      SB 14 - Draft (Hebert Ex. 165, Peters Ex. 37)                      N
  PL900                                      Amended Notice of Rule 30(b)(6) Deposition (Ingram Ex. 1)
                                                                                                                N
  PL901                                      Defendants' Ojections and Responses to Plaintiffs' and
                                             Plaintiff-Intervenors' First Set of Interrogatories (Ingram        N
                                             Ex. 2)
  PL902                                      Excerpts from Transcript of Committee, January 25, 2011
                                                                                                                N
                                             (Ingram Ex. 22)
  PL903                                      Excerpts from Transcript of Select Committee on Voter
                                             Identification and Voter Fraud hearing, 3/1/2011                   N
                                             (McGeehan Ex. 191; Shorter Ex. 10)
  PL904                                      Voter Information (Newman Ex. 3)                                   N
  PL905                                      Subpoena to produced documents (Patrick Ex. 1)                               Irrelevant; Contains Inadmissible
                                             WITHDRAWN                                                          N         Matter; No Foundation

  PL906                                      Excerpts from Transcript of Committee, March 10, 2009
                                                                                                                N
                                             (Patrick Ex. 3)




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  PL907                                     SB 14 - Signed (Patrick Ex. 4; Shorter Ex. 4; Fraser Ex. 16)
                                                                                                                N
  PL908                                     Selected pages from Defendants' Ojections and Responses
                                            to Plaintiffs' and Plaintiff-Intervenors' First Set of              N
                                            Interrogatories (Patrick Ex. 13)
  PL909      DE-002392       DE-002393      Excerpt From Senate Rules 2011 Session (Hebert Ex. 162)
                                                                                                                N
  PL910                                     Declaration of Michael Mims (Mims Ex. 2)                            N
  PL911                                     Declaration of Yemi B. Oshinnaiye (Oshinnaiye Ex. 3)                N
  PL912                                     Declaration of Michelle Saunders Rudolph (Rudolph Ex. 2)
                                                                                                                N
  PL913                                     Declaration of Kenneth Smith (Smith Ex. 3)                          N
  PL914                                     Declaration of Lee Charles Baydush (Baydush Ex. 2)                  N
  PL915                                     Corrected Declaration of Lee Charles Baydush (Baydush Ex.
                                                                                                                N
                                            3)
  PL916                                     Google Maps Directions (Washington Ex. 8)                           N
  PL917                                     Drivers's License application (Washington Ex. 9)                    N
  PL918                                     Declaration of Steve Strausler (Strausler Ex. 3)                    N
  PL919                                     Excerpts from Transcript of Committee, March 10, 2009
                                                                                                                N
                                            (Shorter Ex. 2)
  PL920                                     Excerpts from Senate Journal, March 18, 2009 (Shorter Ex.
                                                                                                                N
                                            3)
  PL921                                     Excerpts from Transcript of Committee, January 25, 2011
                                                                                                                N
                                            (Shorter Ex. 7)
  PL922     TEX00300597     TEX00300597     E-mail from Wroe Jackson to MacGregor Stephenson re:
                                                                                                                N
                                            "No" counties (Shoerter Ex. 15)
  PL923     TEX00300600     TEX00300600     E-mail from Wroe Jackson to Robert Bodisch re: "Final
                                                                                                                N
                                            Information - 79 Counties (Shoerter Ex. 16)




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  PL924     TEX0524004      TEX0524004      E-mail from Robert Bodisch to MacGregor Stephenson re:
                                            EIC Update (EIC Counties not Participating) & (EIC County
                                                                                                              N
                                            Participation Master Matrix) (Shorter Ex. 17)

  PL925     TEX0508188      TEX0508188      E-mail from Daniel Hodge to Robert Bodisch re: RollUp (EIC
                                                                                                              N
                                            totals) (Shorter Ex. 18)
  PL926     TEX00462176     TEX00462176     E-mail from Keith Ingram to Coby Shorter re: No EICs
                                                                                                              N
                                            issued today at Tarrant mobile sites (Shorter Ex. 19)
  PL927     TEX00462879     TEX00462879     E-mail from Coby Shorter to Wroe Jackson re: 11 July EIC
                                                                                                              N
                                            Report (Shorter Ex. 20)
  PL928                                     EIC Dashboard (Shorter Ex. 21)                                    N
  PL929                                     Major Forrest Mitchell Deposition, June 15, 2012 (Mitchell
                                                                                                              N
                                            Ex. 1)
  PL930                                     Major Forrest Mitchell Trial Deposition, July 9, 2012
                                                                                                              N
                                            (Mitchell Ex. 2)
  PL931                                     Document Entitled, "Election Code Referrals to the Office
                                            of the Attorney General - Charges Pending Resolution              N
                                            (Mitchell Ex. 5)
  PL932                                     Document Entitled, "Election Code Referrals to the Office
                                            of the Attorney General - Prosecutions Resolved (Mitchell         N
                                            Ex. 9)
  PL933     TEX0650262      TEX0650261      Office of The Attorney General - Division Summary of
                                                                                                              N
                                            Services Provided (Mitchell Ex. 10)
  PL934                                     Exhibit A to Amended Notice of rule 30(b)(6) Deposition of                  Irrelevant; Contains Inadmissible
                                            Dept. of Public Safety (Rodriguez Ex. 63) WITHDRAWN               N         Matter; No Foundation

  PL935                                     Racially Polarized Voting Analysis Estimated Turnout by                     Irrelevant; Contains Hearsay
                                            Race/Ethnicity as a Percent of VAP in Voter Tabulation            N
                                            Districts (VTDs) - District 1 - PLANS148




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  PL936                                      Racially Polarized Voting Analysis Estimated Turnout by                     Irrelevant; Contains Hearsay
                                             Race/Ethnicity as a Percent of VAP in Voter Tabulation            N
                                             Districts (VTDs) - District 1 - PLANE120
  PL937                                      Racially Polarized Voting Analysis Estimated Turnout by                     Irrelevant; Contains Hearsay
                                             Race/Ethnicity as a Percent of VAP in Voter Tabulation            N
                                             Districts (VTDs) - District 1 - PLANH283
  PL938                                      Racially Polarized Voting Analysis Estimated Turnout by                     Irrelevant; Contains Hearsay
                                             Race/Ethnicity as a Percent of VAP in Voter Tabulation            N
                                             Districts (VTDs) - District 1 - PLANC185
  PL939     USA_00223440    USA_00223441     H.B. No. 81 (By: Flynn)                                           N
  PL940     USA_00223442    USA_00223443     H.B. No. 176 (By: Jackson)                                        N
  PL941     USA_00223444    USA_00223447     H.B. No. 310 (By: Berman)                                         N
  PL942                                      January 12, 2012 Ltr from Ingram to Herren re Submission
                                             Under Sec. 5, Voting Rights Act of Senate Bill 14, Chapter        N
                                             123
  PL943                                      Criteria for Matching Records in the TEAM Database                          No Foundation; No Authentication;
                                                                                                               N         Contains Hearsay

  PL944                                      DPS Responses to Written Deposition Questions Pursuant                      Improper Exhibit
                                             to Rule 31 Regardng Specified Topics from the United
                                                                                                               N
                                             States' Notice of Rule 30(b)(6) Deposition of the Texas
                                             Department of Public Safety
  PL945                                      Dr. Ansolabehere - Plaintiffs Matching Combinations               Y         Improperly Bolstering An Expert;
                                             (Supp. Chart)                                                               Improper Exhibit
  PL946                                      Dr. Ansolabehere - Table V.1 - combinations of fields used        Y         Improperly Bolstering An Expert;
                                             as matching identifiers                                                     Improper Exhibit
  PL947                                      Dr. Ansolabehere - Table V.2 - Number of Matches of               Y         Improperly Bolstering An Expert;
                                             TEAM Records to State and Federal Databases Overall and                     Improper Exhibit
                                             By Racial Group, using Catalist Racial Estimates




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  PL948                                     Dr. Ansolabehere - Table V.2 - Number of Matches of                  Y         Improperly Bolstering An Expert;
                                            TEAM Records to State and Federal Databases Overall and                        Improper Exhibit
                                            By Racial Group, Before Removing Records Indicated as
                                            Deceaseed by DPS, using Catalist Racial Estimates

  PL949                                     Dr. Ansolabehere - Table V.3.A - Total Records and Records           Y         Improperly Bolstering An Expert;
                                            for which a Match or No Match was found to Any Federal                         Improper Exhibit
                                            or Any State Identification Database using DOJ Algorithm
                                            Table V.3.B - Total Records and Records for which a Match
                                            or No Match was found to Any Federal or Any State
                                            Identification Database using DOJ Algorithm, Excluding
                                            cases DPS flags as deceased

  PL950                                     Dr. Ansolabehere - Table V.4.A - Total Records and Records           Y         Improperly Bolstering An Expert;
                                            for which a Match or No Match was found to Any Federal                         Improper Exhibit
                                            or Any State Identification Database or any Federal
                                            Disability Database using DOJ Algorithm
                                            Table V.4.B - Total Records and Records for which a Match
                                            or No Match was found to Any Federal or Any State
                                            Identification Database or any Federal Disability Database
                                            using DOJ Algorithm Excluding cases DPS flags as deceased

  PL951                                     Dr. Ansolabehere - Table VI.1 - Estimated Percent No                 Y         Improperly Bolstering An Expert;
                                            Match By Racial Group Using Census Racial Data:                                Improper Exhibit
                                            Ecological Regression Analyses of ACS CVAP and No Match
                                            Percent at Block-Group Level
  PL952                                     Dr. Ansolabehere - Table VI.2 - NO-MATCH and MATCH                   Y         Improperly Bolstering An Expert;
                                            Percent By Racial Group, Using Catalist Racial Classification                  Improper Exhibit




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  PL953                                     Dr. Ansolabehere - Table VI.3.A - RATE OF NO-MATCH/NOT             Y         Improperly Bolstering An Expert;
                                            EXEMPTION ELIGIBLE/Not Age Voteby-Mail Eligible By                           Improper Exhibit
                                            Racial Group, Using Ecological Regression

  PL954                                     Dr. Ansolabehere - Table VI.3.B - NO-MATCH/NOT                     Y         Improperly Bolstering An Expert;
                                            EXEMPTION ELIGIBLE/Not Age Vote-by-Mail Eligible By                          Improper Exhibit
                                            Racial Group, Using Catalist Racial Classification
  PL955                                     Dr. Ansolabehere - Table VI.4.A - Percent NO MATCH                 Y         Improperly Bolstering An Expert;
                                            Among Those Who Voted in 2012, Using Ecological                              Improper Exhibit
                                            Regression
  PL956                                     Dr. Ansolabehere - Table VI.4.B - Percent NO MATCH and             Y         Improperly Bolstering An Expert;
                                            NO MATCH/NOT EXEMPTION ELIGIBLE Among Those Who                              Improper Exhibit
                                            Voted in 2010 or 2012, Using Catalist Racial Data

  PL957                                     Dr. Ansolabehere - Table VII.1.A - Rates of NO MATCHES by          Y         Improperly Bolstering An Expert;
                                            Race Under Varying Definitions of the Potential Pool of                      Improper Exhibit
                                            Registered Voters Ecological Regressions Using Census
                                            Racial Data
  PL958                                     Dr. Ansolabehere - Table VII.1.B - Rates of NO MATCHES by          Y         Improperly Bolstering An Expert;
                                            Race Under Varying Definitions of the Potential Pool of                      Improper Exhibit
                                            Registered Voters Using Catalist Racial Data

  PL959                                     Dr. Ansolabehere - Table VII.2 - Validation of Results With        Y         Improperly Bolstering An Expert;
                                            Alternative Racial Classification: Using Records With the                    Improper Exhibit
                                            Highest Confidence in the Racial Classification




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  PL960                                     Dr. Ansolabehere - Table VII.3 - Validation of Results With         Y         Improperly Bolstering An Expert;
                                            Alternative Racial Classification Using Spanish Surname                       Improper Exhibit
                                            Voter Registrations: Comparison of No-Match rates of
                                            Spanish Surname Registered Voters and Others

  PL961                                     Dr. Ansolabehere - Table VII.4 - Identification Match versus        Y         Improperly Bolstering An Expert;
                                            Disability Exemption Eligible                                                 Improper Exhibit
  PL962                                     Dr. Ansolabehere - Table VIII.1a - Percent of Registered            Y         Improperly Bolstering An Expert;
                                            Anglos, Hispanics, and Blacks in Catalist Database who                        Improper Exhibit
                                            Voted in the State of Texas in 2010 and 2012: Current
                                            Active and Suspense Voters
  PL963                                     Dr. Ansolabehere - Table VIII.1b - Percent of Registered            Y         Improperly Bolstering An Expert;
                                            Anglos, Hispanics, and Blacks in Catalist Database who                        Improper Exhibit
                                            Voted in the State of Texas in 2010 and 2012: Current
                                            Active Voters Only
  PL964                                     Dr. Ansolabehere - Table VIII.2a - Ecological Regression            Y         Improperly Bolstering An Expert;
                                            Estimates of Registration as a Percent of Voting Age                          Improper Exhibit
                                            Population for Anglos, Hispanics, and Blacks in the State of
                                            Texas
  PL965                                     Dr. Ansolabehere - Table VIII.2b - Ecological Regression            Y         Improperly Bolstering An Expert;
                                            Estimates of Registration as a Percent of Citizen Voting Age                  Improper Exhibit
                                            Population for Anglos, Hispanics, and Blacks in the State of
                                            Texas
  PL966                                     Dr. Ansolabehere - Table VIII.3a - Ecological Regression            Y         Improperly Bolstering An Expert;
                                            Estimates of Voting Rates Among Groups as a Percent of                        Improper Exhibit
                                            Voting Age Population of Anglos, Hispanics, and Blacks in
                                            the State of Texas




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  PL967                                     Dr. Ansolabehere - Table VIII.3b - Ecological Regression           Y         Improperly Bolstering An Expert;
                                            Estimates of Voting Rates Among Groups as a Percent of                       Improper Exhibit
                                            Citizen Voting Age Population of Anglos, Hispanics, and
                                            Blacks in the State of Texas
  PL968                                     Dr. Ansolabehere - Table VIII.4 - Current Population Survey        Y         Improperly Bolstering An Expert;
                                            Estimates of Percent of Anglo, Hispanic, and Black Adult                     Improper Exhibit
                                            Citizens who are Registered and who Voted in the State of
                                            Texas
  PL969                                     Dr. Ansolabehere - Table VIII.5 - Current Population Survey        Y         Improperly Bolstering An Expert;
                                            Estimates of Percent of Registered Anglos, Hispanics, and                    Improper Exhibit
                                            Blacks who Voted in the State of Texas from 2006 to 2012

  PL970                                     Dr. Ansolabehere - Table X.1 - Comparison of SSN9 Match            Y         Improperly Bolstering An Expert;
                                            and A/D/G/N Match Rates                                                      Improper Exhibit
  PL971                                     Imani Clark - Amended Complaint in Intervention of                           Improper Exhibit
                                                                                                               N
                                            Plaintiff-Intervenors (Clark Ex. 4) WITHDRAWN
  PL972     LYV00001197     LYV00001197
                                                                                                               Y
                                            Imani Clark - Expired U.S. Passport (FILED UNDER SEAL)
  PL973                                     Imani Clark - TX Voter Registration Card (FILED UNDER
                                                                                                               Y
            LYV00001198     LYV00001199     SEAL)
  PL974     LYV00000121     LYV00000123     The League of Young Voters Voter ID Project Coalition              Y
                                            Meeting (Green Ex. 4)
  PL975     LYV00000047     LYV00000047     The League of Young Voters Education Fund Election
                                            Protection and Access to the Ballot in Texas (Green Ex. 10)

  PL976     LYV00002535     LYV00002535     The League of Young Voters Education Fund 2012 Check               Y         No Foundation; No Authentication
                                            Request, Expense Log (FILED UNDER SEAL)
  PL977     LYV00002536     LYV00002536     The League of Young Voters Education Fund 2013 Check               Y         No Foundation; No Authentication
                                            Request, Expense Log (FILED UNDER SEAL)




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  PL978     LYV00002537     LYV00002537     The League of Young Voters Education Fund 2013-2014                  Y         No Foundation; No Authentication
                                            Event Log
  PL979     LYV00002538     LYV00002538     The League of Young Voters Education Fund Office                     Y         No Foundation; No Authentication
                                            Calendar 2012
  PL980     LYV00002539     LYV00002539     The League of Young Voters Education Fund Office                     Y         No Foundation; No Authentication
                                            Calendar 2013
  PL981     LYV00002540     LYV00002540     The League of Young Voters Education Fund Office                     Y         No Foundation; No Authentication
                                            Calendar 2014
  PL982     LYV00002541     LYV00002545     The League of Young Voters Education Fund                            Y         No Foundation; No Authentication
                                            Reimbursement Request (FILED UNDER SEAL)
  PL983     ORT00018575     ORT00018575     LUPE flyer on SB 14                                                  Y         No Foundation; No Authentication

  PL984     ORT00018584     ORT00018603     LUPE booklet for candidates forum, including SB 14 info.             Y         No Foundation; No Authentication

  PL985     ORT00019754     ORT00019767     Corresp. Tex. Dep't of State Health Svcs. Re. birth record of        Y
                                            Maximina Lara (FILED UNDER SEAL)
  PL986     ORT00019189     ORT00019190     Declaration of Maximina Lara (FILED UNDER SEAL)                      Y         Contains Hearsay; No Foundation;
                                                                                                                           No Authentication; Improper
                                                                                                                           Evidence
  PL987     ORT00000012     ORT00000012     Driver license Maximina Lara (FILED UNDER SEAL)                      Y
  PL988     TEX00524796     TEX00524802     Secretary of State voting records for Maximina Lara (FILED           Y
                                            UNDER SEAL)
  PL989     ORT00019740     ORT00019753     Corresp. Tex. Dep't of State Health Svcs. Re. birth record of        Y
                                            Margarito Lara (FILED UNDER SEAL)
  PL990     ORT00019191     ORT00019192     Declaration of Margarito Lara (FILED UNDER SEAL)                     Y         Contains Hearsay; No Foundation;
                                                                                                                           No Authentication; Improper
                                                                                                                           Evidence
  PL991     TEX00524742     TEX00524752     Secretary of State voting records for Margarito Lara (FILED          Y
                                            UNDER SEAL)




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  PL992     ORT00019195     ORT00019196     Declaration of Eulalio Mendez (FILED UNDER SEAL)                    Y         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication; Improper
                                                                                                                          Evidence
  PL993     ORT00000013     ORT00000013     Birth Certificate Eulalio Mendez (FILED UNDER SEAL)                 Y
  PL994      TEX0524789      TEX0524791     Secretary of State voting records for Eulalio Mendez (FILED         Y
                                            UNDER SEAL)
  PL995     ORT00019416     ORT00019417     Declaration of Estela Espinoza WITHDRAWN                            Y         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication; Improper
                                                                                                                          Evidence
  PL996     ORT00000003     ORT00000003     Birth Certificate Estela Espinoza (FILED UNDER SEAL)                Y
  PL997      TEX0524753      TEX0524753     Secretary of State voting records for Estela Espinoza (FILED        Y
                                            UNDER SEAL)
  PL998     ORT00019423     ORT00019424     Declaraction of Lionel Estrada (FILED UNDER SEAL)                   Y         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication; Improper
                                                                                                                          Evidence
  PL999     ORT00019981     ORT00019981     Secretary of State voting records for Lionel Estrada (FILED         Y
                                            UNDER SEAL)
 PL1000     ORT00019211     ORT00019212     Declaration of Lenard Taylor (FILED UNDER SEAL)                     Y         Contains Hearsay; No Foundation;
                                                                                                                          No Authentication; Improper
                                                                                                                          Evidence
 PL1001     TEX00526823     TEX00526827     Secretary of State voting records for Lenard Taylor (FILED          Y
                                            UNDER SEAL)
 PL1002     LYV00000033     LYV00000033     The League of Young Voters Education Fund Voter ID                  Y         No Foundation; No Authentication
                                            Supporter Notification
 PL1003     LYV00000034     LYV00000034     The League of Young Voters Education Fund Voter ID Press            Y         No Foundation; No Authentication
                                            Release Aug. 30, 2012
 PL1004     LYV00000043     LYV00000043     The League of Young Voters Education Fund Voter ID Tip              Y         No Foundation; No Authentication
                                            Sheet




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 PL1005     LYV00000061     LYV00000061     The League of Young Voters Education Fund Voter ID                Y         No Foundation; No Authentication
                                            Supporter Notification
 PL1006     LYV00000662     LYV00000663     The League of Young Voters Education Fund Voter ID                Y         No Foundation; No Authentication
                                            Student Notification
 PL1007     LYV00001187     LYV00001189     The League of Young Voters Education Fund Voter ID Fact           Y         No Foundation; No Authentication
                                            Sheet
 PL1008     LYV00001190     LYV00001190     The League of Young Voters Education Fund Voter ID                Y         No Foundation; No Authentication
                                            Sample Script
 PL1009     LYV00001191     LYV00001191     The League of Young Voters Education Fund Got ID Fact             Y         No Foundation; No Authentication
                                            Sheet
 PL1010     LYV00001195     LYV00001195     The League of Young Voters Education Fund Awareness               Y         No Foundation; No Authentication
                                            Week Flyer
 PL1011                                     HB 1706 Legislative History                                       N
 PL1012                                     SB 178 As introduced                                              N
 PL1013                                     SB 363 Legislative History                                        N
 PL1014                                     Press Release from State Sen. Troy Fraser - Fraser files          N
                                            Photo ID Measure, November 9, 2010
 PL1015                                                                                                       N         Irrelevant; Contains Hearsay; No
                                                                                                                        Foundation; No Authentication
                                            Birds of a Feather - Empower Texans Mailer 2008
 PL1016                                     Defendants' Objections and Responses to Plaintiff United          N         Improper Evidence to the extent
                                            States' First Set of Requests for Admission                                 conflicts with the ruling of the
                                                                                                                        Court on 8-29-14
 PL1017     TEX0525121      TEX0525121      Office of The Governor - Visit/Phone Record, April 7, 2009        Y         Contains Hearsay; Irrelevant; No
                                                                                                                        Foundation; No Authentication

 PL1018     TEX00009786     TEX00009786     Constituent Email to Sen. Fraser re: Senate Bil 362, March        N         Contains Hearsay; Irrelevant; No
                                            13, 2009                                                                    Foundation; No Authentication




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 PL1019     TEX00009787      TEX00009787     Constituent Email to Sen. Fraser re: I Support voter I.D.,         N         Contains Hearsay; Irrelevant; No
                                             March 13, 2009                                                               Foundation; No Authentication

 PL1020     TEX00009788      TEX00009788     Constituent Email to Sen. Fraser re: Voter ID, March 12,           N         Contains Hearsay; Irrelevant; No
                                             2009                                                                         Foundation; No Authentication

 PL1021     TEX00009801      TEX00009801     Constituent Email to Sen. Fraser re: Voter ID, March 11,           N         Contains Hearsay; Irrelevant; No
                                             2009                                                                         Foundation; No Authentication

 PL1022     TEX00009842      TEX00009842     Constituent Email to Sen. Fraser re: Voter ID, March 2,            N         Contains Hearsay; Irrelevant; No
                                             2009                                                                         Foundation; No Authentication

 PL1023     TEX00009845      TEX00009845     Constituent Email to Sen. Fraser re: Voter ID, February 28,        N         Contains Hearsay; Irrelevant; No
                                             2009                                                                         Foundation; No Authentication

 PL1024     TEX00009846      TEX00009846     Constituent Email to Sen. Fraser re: Voter ID, March 3,            N         Contains Hearsay; Irrelevant; No
                                             2009                                                                         Foundation; No Authentication

 PL1025     USA_00011631    USA_00011631     Voter ID and Voter Fraud Select Committee History                  N
 PL1026     USA_00011641    USA_00011642     Straus Committee Assignments Press Release 9 February              N
                                             2011
 PL1027                                      HB 1338                                                            N
 PL1028     TEX00267500      TEX00267539     Representative Todd Smith, Voter Identification Forum ,            N         Contains Hearsay
                                             81st Session Interim, 6 August 201
 PL1029                                      The League of Young Voters Education Fund Texas Website            N
                                             pages (Clark Ex. 7)
 PL1030                                      Excerpt From Senate Rules 2009 Session (Fraser Ex. 8)              N
 PL1031                                      Email: Voter ID Project Coalition meeting, October 7, 2013         Y
                                             (Green Ex. 4)




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 PL1032                                      The League of Young Voters Education Fund List of                   Y
                                             Constituency (Green Ex. 3) (FILED UNDER SEAL)
 PL1033                                      Defendants' Objections and Responses to Plaintiffs and              N
                                             Plaintiff-Intervenors' Second Set of Interrogatories

 PL1034                                      CORRECTED - Defendants' Amended Objections and                      N
                                             Responses to Plaintiffs and Plaintiff-Intervenors' Third Set
                                             of Interrogatories
 PL1035     USA_00009232    USA_00009255     Driver's License Study, February 28, 2011                           N
 PL1036                                      EIC Temporary Mobile Stations - 2014 List                           N
 PL1037                                      Perez pretrial conference and closing arguments, July 29,           N         Irrelevant; Immaterial; No
                                             2014 WITHDRAWN                                                                Foundation; Hearsay; Contains
                                                                                                                           Inadmissible Matter; No
                                                                                                                           Authentication; Conflicts with the
                                                                                                                           Court's Ruling on 8-29-14
 PL1038                                      HB 6 (2011)                                                         N
 PL1039                                      HB 112 (2011)                                                       N
 PL1040                                      HB 186 (2011)                                                       N
 PL1041                                      HB 248 (2011)                                                       N
 PL1042                                      HB 250 (2011)                                                       N
 PL1043                                      HB 401 (2011)                                                       N
 PL1044                                      HB 539 (2011)                                                       N
 PL1045                                      HB 624 (2011)                                                       N
 PL1046                                      HB 1005 (2011)                                                      N
 PL1047                                      HB 1412 (2011)                                                      N
 PL1048                                      HB 1596 (2011)                                                      N
 PL1049                                      HB 1458 (2011)                                                      N
 PL1050                                      Declaration of Clint McDonald                                       N         Contains Hearsay; No Foundation;
                                                                                                                           No Authentication; Improper
                                                                                                                           Evidence



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 PL1051                                     Defendants' First Amended Objections and Responses to         N
                                            Plaintiffs and Plaintiff-Intervenors' Fifth Set of
                                            Interrogatories
 PL1052     TEX0622062      TEX0622062      EIC Executive Dashbord                                        N
 PL1053     TEX0622063      TEX0622063      EIC County Service Authorization Dates                        N
 PL1054                                     Updated CV of Expert Coleman Bazelon                                    No Foundation; No Authentication;
                                                                                                                    Contains Hearsay

 PL1055                                     Perez v. Perry - Closing Arguments, Aug. 26, 2014                       Irrelevant; Immaterial; No
                                            WITHDRAWN                                                               Foundation; Contains Hearsay;
                                                                                                                    Contains Inadmissible Matter; No
                                                                                                                    Authentication; Conflicts with the
                                                                                                                    Court's Ruling on 8-2914

                                            The League of Young Voters Education Fund Engaging the                  No Foundation; No Authentication
 PL1056     LYV00000091     LYV00000091                                                                   Y
                                            rising Texas electorate
                                            The League of Young Voters Education Fund Voter ID                      No Foundation; No Authentication
 PL1057     LYV00000092                                                                                   Y
                            LYV00000099     Update
                                                                                                                    No Foundation; No Authentication;
 PL1058     LYV00000100     LYV00000100     Texas Voters: Got ID?                                         Y         Contains Hearsay

                                                                                                                    No Foundation; No Authentication;
                                            The League of Young Voters Education Fund Mission and
 PL1059     LYV00000101     LYV00000104                                                                   Y         Contains Hearsay
                                            Purpose
                                                                                                                    No Foundation; No Authentication;
                                            Voters: Got ID
 PL1060     LYV00001186     LYV00001186                                                                   Y         Contains Hearsay
                                            Know What You Need to Vote Nov. 5th




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                                                                                                                        No Foundation; No Authentication;
 PL1061     LYV00001187      LYV00001189     Are you prepared? Voter ID law takes effect in Texas             Y         Contains Hearsay

                                                                                                                        No Foundation; No Authentication;
 PL1062     LYV00001190      LYV00001190     #GotIDTexas Sample Script                                        Y         Contains Hearsay

                                                                                                                        No Foundation; No Authentication;
 PL1063     LYV00001191      LYV00001194     Texas Voters: Got ID? New Rules                                  Y         Contains Hearsay

                                                                                                                        No Foundation; No Authentication;
 PL1064     LYV00001195      LYV00001195     Protect Your Right to Vote Awareness Week                                  Contains Hearsay
                                                                                                              Y
 PL1065     USA_00223532    USA_00223533     DHS letter to U.S. Rep. Kenny Marchant, August 7, 2004           N

 PL1066     USA_00223534    USA_00223584     DPS Responses to Written Deposition Questions Regarding          N         Improper Exhibit
                                             Specified Topics From the United States' Notice of Rule
                                             30(b)(6) Deposition of the Texas Department of Public
                                             Safety
 PL1067     USA_00223585    USA_00223586     Email to Ryan O'Connor re: EIC Region 3 Weekly Report            N
                                             October 7 (Mon) - October 12 (Sat)
 PL1068     USA_00223587    USA_00223594     Emilio Buendia Martinez Election Certificate                     N
 PL1069     USA_00223595    USA_00223598     EIC Issuance Documents - Martinez
 PL1070     USA_00223599    USA_00223600     Email to Lisa Daughtry re: EIC Issuance                          N
 PL1071     USA_00223601    USA_00223610     Email to Lisa Daughtry re: EIC Certificate (Hector Manuel        N
                                             Sanchez)
 PL1072     USA_00223611    USA_00223828     House Journal, May 24, 2005                                      N
 PL1073      TEX0563471      TEX0563471      E-mails Oct. 24 2013 from MacGregor Stephenson to Coby           N
                                             Shorter, Keith Ingram, and Wroe Jackson re: EIC mobile
                                             program




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EXHIBIT     BATES STAMP   BATES STAMP END                        DESCRIPTION                           HIGHLY           DEFENDANTS' OBJECTIONS
NUMBER       BEGINNING                                                                               CONFIDENTIAL

 PL1074     TEX0524010      TEX0524011      E-mails Feb. 10 2014 from Robert Bodisch to MacGregor         N
                                            Stephenson re: EIC County Update
 PL1075     TEX0512029      TEX0512030      E-mails Oct. 22 2013 from Robert Bodisch to Steven            N         Attorney-client privilege; attorney
                                            McCraw re DPS EIC program WITHDRAWN                                     work product
 PL1076     TEX0479638      TEX0479641      E-mails Sept. 17 2013 from MacGregor Stephenson to            N
                                            Robert Bodisch re Mobile EIC program
 PL1077     TEX0524900      TEX0524901      Emails Feb. 15 2014 from Coby Shorter to MacGregor            Y
                                            Stephenson re EIC locations
 PL1078     TEX0479617      TEX0479618      Emails Oct. 17 2013 from Robert Bodisch to MacGregor          N
                                            Stephenson re EIC program
 PL1079     TEX0506782      TEX0506783      Emails Oct. 2 2013 re Voter ID grant                          N
 PL1080     TEX0479654      TEX0479654      Emails Sept. 23 2013 from Robert Bodisch to MacGregor         N
                                            Stephenson re Voter ID info
 PL1081     TEX0501447      TEX0501449      Emails Sept. 13 2013 from Robert Bodisch to MacGregor         N
                                            Stephenson re EIC Program
 PL1082     TEX0479653      TEX0479653      Emails Oct. 14 2013 from MacGregor Stephenson to              N
                                            Robert Bodisch re EIC program
 PL1083                                     DPS Webpage re Administrative License Revocation              N
                                            Program
 PL1084                                     Defendants' Objections and Responses to Veasey-LULAC          N
                                            Plaintiffs' First Set of Requests for Admission
 PL1085                                     Defendants' Objections and Responses to Veasey-LULAC          N
                                            Plaintiffs' Second Set of Requests for Admission

 PL1086                                     Table of Amendments to SB 14 Defeated in the Senate in        N         Contains Hearsay; No Foundation;
                                            2011 WITHDRAWN                                                          No Authentication
 PL1087                                     Table of Acceptable Identification Documents Under            N         Contains Hearsay; No Foundation;
                                            Status Quo and 2005-2011 Voter Identification Bills                     No Authentication
                                            WITHDRAWN




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NUMBER       BEGINNING                                                                                  CONFIDENTIAL

 PL1088     TX00009308      TX00009308      News article re San Antonio Woman Uses Dead Sister's             Y         Contains Hearsay; No Foundation;
                                            Identity to Vote                                                           No Authentication
 PL1089                                     News article "Greg Abbott's Bogus Voter Fraud Crusade"           N         Contains Hearsay; No Foundation;
                                                                                                                       No Authentication; Improper
                                                                                                                       Opinion
 PL1090                                     Video Deposition of Sammie Louise Bates (excerpt of              N
                                            portions of designated testimony)
 PL1091                                     Video Deposition of Ramona Bingham (excerpt of portions          N
                                            of designated testimony)
 PL1092                                     Video Deposition of Elizabeth Gholar (excerpt of portions        N
                                            of designated testimony)
 PL1093                                     Video Deposition of Phyllis Washington (excerpt of               N
                                            portions of designated testimony)
 PL1094                                     Video Deposition of Malvin Holmes (excerpt of portions of        N
                                            designated testimony)
 PL1095                                     Video Deposition of Naomi Eagleton (excerpt of portions          N
                                            of designated testimony)
 PL1096                                     Barreto and Sanchez Final Data Clean.dta                         Y
 PL1097                                     Barreto and Sanchez Survey.dta                                   Y
 PL1098                                     Barry C. Burden updated CV, August 2014                          N
 PL1099                                     Gerry R. Webster updated CV, August 2014                         N
 PL1100                                     Demonstrative for Direct Testimony of Stephen                    N
                                            Ansolabehere
 PL1100R                                    Dr. Ansolabehere powerpoint                                      N
  PL1101                                    Demonstrative for Direct Testimony of Stephen                    N
                                            Ansolabehere
 PL1102                                     Demonstrative for Opening Argument by Elizabeth                  N
                                            Westfall




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EXHIBIT     BATES STAMP   BATES STAMP END                          DESCRIPTION                                HIGHLY       DEFENDANTS' OBJECTIONS
NUMBER       BEGINNING                                                                                      CONFIDENTIAL

 PL1103                                     Demonstrative for Direct Testimony of Michael Herron 1               N

 PL1104                                     Demonstrative for Direct Testimony of Michael Herron 2               N

 PL1105                                     Demonstrative for Direct Testimony of Michael Herron 3               N

 PL1106                                     Demonstrative for Direct Testimony of Michael Herron 4               N

 PL1107                                     Demonstrative for Direct Testimony of Barry Burden                   N
PL1107.1                                    Dr. Burden powerpoint                                                N
 PL1108                                     Video Deposition of Ruby Barber (excerpt of portions of              N
                                            designated testimony)
 PL1109                                     Video Deposition of Vera Trotter (excerpt of portions of             N
                                            designated testimony)
 PL1110                                     Video Deposition of Jimmy Denton (excerpt of portions of             N
                                            designated testimony)
 PL1111     TX_00004806     TX_00004808     Letter 7 October 2011 from McCraw to Sen. Ellis                      N
                                            answering questions about DPS ability to comply with SB
                                            14
PL1111.1                                    Dr. Webster powerpoint (updated)                                     N
 PL1112     TX_00005187     TX_00005194     Driver Licenses / SB 14 / Version: Enrolled as Finally Passed        N

 PL1113     US_00006729     US_00006732     Declaration of Carlos Uresti                                         N
 PL1114                                     Instructions for ordering a birth Certificate in Texas               N
 PL1115                                     21 January 2011 Letter from Dewhurst to Birdwell                     N
 PL1116                                     6/12/2012 list of DL Offices-Locations, Times, late day [if          N
                                            any]
 PL1117                                     Voter ID and Voter Fraud Select Committee History                    N
                                            (Harless US 13)




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EXHIBIT     BATES STAMP   BATES STAMP END                         DESCRIPTION                              HIGHLY       DEFENDANTS' OBJECTIONS
NUMBER       BEGINNING                                                                                   CONFIDENTIAL

 PL1118                                     SB 14 History (Harless US 8)                                      N
 PL1119                                     Straus Committee Assignments Press Release 9 February             N
                                            2011 (Harless US 74)
 PL1120                                     HB 218 History (Hebert US 75)                                     N
 PL1121                                     Conference Committee Report from 4 May 2011                       N
 PL1122                                     Declaration of J. Morgan Kousser                                  N
 PL1123     TX_00053957     TX_00053963     Email 25 January 2011 from Mendoza to Richards re                 N
                                            Revised Query: Younger than 70 (Guyette US Ex. 977)
 PL1124                                     House Research Org - Major Issues of 79th Session                 N
 PL1125                                     House Research Org - Major Issues of 80th Session                 N
 PL1126                                     House Research Org - Major Issues of 81st Session                 N
 PL1127                                     Legislative Staff 81st                                            N
 PL1128                                     Legislative Staff 82nd                                            N
 PL1129                                     Legislative Staff 83rd                                            N
 PL1130                                     Recent DOJ Objection Letters                                      N
 PL1131                                     The Texas State Senate - Leticia Van De Putte Press               N
                                            Releases
 PL1132     TX_00034442     TX_00034442     Email from Hebert to Berrios re: Voter ID                         N
 PL1133     TX_00034469     TX_00034469     Hebert email to J Stinson J McCoy and others re: SB14 bill        N
                                            summary
 PL1134     TX_00034470     TX_00034471     Attachment to Hebert email to J Stinson J McCoy and               N
                                            others - Voter ID Bill Summary
 PL1135     TX_00034560     TX_00034560     Dewhurst Talking Points                                           N
 PL1136     TX_00081510     TX_00081510     Hebert Email to J Baxter A Montagne and others re: Voter          N
                                            ID Talking Points & Analysis
 PL1137     TX_00087007     TX_00087007     Email from Hebert to Janice McCoy re: ID docs                     N
 PL1138     TX_00087008     TX_00087008     Attachment to email from Hebert to Janice McCoy -                 N
                                            Reasons to Support SB 362 as Filed (Duncan Ex. 10)




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NUMBER       BEGINNING                                                                                      CONFIDENTIAL

 PL1139     TX_00087009     TX_00087009     Attachment to email from Hebert to Janice McCoy -                    N
                                            Talking Points
 PL1140     TX_00087010     TX_00087010     Attachment to email from Hebert to Janice McCoy - Texas              N
                                            Provisional Ballot Process
 PL1141     TX_00087011     TX_00087012     Attachment to email from Hebert to Janice McCoy - Pre-               N
                                            clearance by DOJ
 PL1142     TX_00087013     TX_00087013     Attachment to email from Hebert to Janice McCoy -                    N
                                            Federal Preclearance of Texas Voter ID Law Required
 PL1143     TX_00087014     TX_00087014     Attachment to email from Hebert to Janice McCoy -                    N
                                            Process for getting copy of Texas Birth Certificate
 PL1144     TX_00202988     TX_00202988     Email T. Williams to Janet Stieben re: 81st post session             N
                                            remarks
 PL1145                                     The Empirical Effects of Voter-ID Laws: Present or Absent?           N
                                            By Mycoff, Wagner, Wilson (Milyo Ex. 18)
 PL1146                                     The Effects of Photographic Identification on Voter                  N
                                            Turnout inIndiana: A county-Level Analysis, by Jeﬀrey
                                            Milyo (Milyo Ex. 11)
 PL1147                                     Much Ado About Nothing? An Empirical Assessment of the               N
                                            Georgia Voter iden fica on Statute, by Hood and
                                            Bullock(Milyo Ex. 12)
 PL1148                                     Affidavit of Jeffrey Milyo, in Support of Intervenors Dale L.        N
                                            Morris and Missouri Senator Delbert Scott (Milyo Ex. 14)

 PL1149                                     How Postregistration laws Affect the Turnout of Citizens             N
                                            Registered to Vote, by Wolfinger, Highton and Mullin
                                            (Milyo Ex. 15)
 PL1150                                     Caltech/MIT Voting Technology Project, The Effect of                 N
                                            Voter Identification Laws on Turnout, by Alvarez, Bailey,
                                            Katz (Milyo Ex. 16)




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NUMBER       BEGINNING                                                                                    CONFIDENTIAL

 PL1151                                     Maximina Lara Texas Driver's License (FILED UNDER SEAL)            Y

 PL1152                                     Maximina Lara Voter Registration Card (FILED UNDER                 Y
                                            SEAL)
 PL1153                                     Milyo Supplemental Rebuttal Report - FOR                           Y
                                            IDENTIFICATION ONLY (Milyo Ex. 2)
 PL1154                                     Motivated Skepticism in the Evaluation of Political Beliefs        N
                                            (Milyo Ex. 4)
 PL1155                                     The Influence of Partisan Motivated Reasoning on Public            N
                                            Opinion By Bolsen, Druckman, Cook (Milyo Ex. 5)

 PL1156                                     From Voter ID to Party ID: How Political Parties affect            N
                                            Percep ons of Elec onFraud in the U,S. By Emily Beaulieu
                                            (Milyo Ex. 6)
 PL1157                                     Kevin Jewell Demo Aid (FILED UNDER SEAL)                           N
 PL1158                                     Email from Eric OpIela to Gerardo Interlano re: Useful             N
                                            metric
  PL1159                                    Coleman Bazelon Demonstrative                                      N
 PL1159R                                    Amended Coleman Bazelon Trial Demonstratives                       N
 PL1160                                     Debra Frary and Michelle Slusher deposition excerpts               N

 PL1161                                     C235 RED-202 Report                                                N
 PL1162                                     C235 RED-202 Demonstrative                                         N
 PL1163                                     Deposition of Senator Duncan, June 7, 2012 (Duncan Ex. 1)          N

 PL1164                                     2/28/2007 Hearing on Elections excerpts (Duncan Ex. 4)             N

 PL1165                                     5/15/2007 Senate Journal excerpts (Duncan Ex. 5)                   N
 PL1166                                     1/14/2009 Senate Rules excerpts (Duncan Ex. 7)                     N




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 PL1167                                     1/14/2009 Senate Journal excerpts (Duncan Ex. 8)                 N
 PL1168                                     3/3/2009 Memo to Chairman Duncan from Senator Van de             N
                                            Putte (Duncan Ex. 9)
 PL1169                                     3/5/2009 Memo to Senator Van de Putte from Senator               N
                                            Duncan (Duncan Ex. 12)
 PL1170                                     3/29/2012 Various E-mails from Senator Patrick (Duncan           Y
                                            Ex. 15)
 PL1171                                     5/27/2011 Texas Legislature Online History (Duncan Ex.           N
                                            16)
 PL1172                                     1/27/2011 E-mail to Jonathan Stinson and others from             Y
                                            Bryan Hebert (Duncan Ex. 18)
 PL1173                                     1/20/2011 Various E-mails RE: Announcement (Duncan Ex.           Y
                                            19)
 PL1174                                     1/24/2011 E-mail to Debby Hansard and others from                Y
                                            Megan LaVoie (Duncan Ex. 20)
 PL1175                                     1/24/2011 Senate Notice of Public Hearing (Duncan Ex. 21)        N

 PL1176                                     1/21/2011 E-mail to Jennifer Fagan from                          Y
                                            opie@cdmlaw.com (Duncan Ex. 22)
 PL1177                                     1/21/2011 Various E-mails SB 14 (Duncan Ex. 23)                  Y
 PL1178                                     8/26/2014 News Report from Lubbock Avalanche-Journal             N
                                            (Duncan Ex. 25)
 PL1179                                     Senate Journal, May 27, 2005                                     N
 PL1180                                     Estrada Driver Permit (FILED UNDER SEAL)                         Y
 PL1181                                     Declaration of Coleman Bazelon (Sep. 17, 2014)                   N
 PL1182                                     Jefferson County, Texas Correspondence                           N
 PL1183                                     Dr. Chatman Demonstrative                                        N




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